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                              EXHIBIT A
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                   SUPREME                COURT           OF THE                STATE          OF NEW            YORK                                     Filed:
                   COUNTY               OF QUEENS
                                                                                                                                                          Index          No.:


                   THALIA             LARDOUTSOS                                                                                                          Plaintiff             designates
                                                                                                                                                          QUEENS                  County            as the
                                                                               Plaintiff(s),                                                              place          of trial.


                                          -against-
                                                                                                                                                          S     U   M M O N                   S


                   LOWE'S               HOME             IMPROVEMENT                               AND           LOWE'S
                                                                                                                                       HOMEThe                      basis         of venue            is
                   CENTERS,               LLC
                                                                                                                                                          Plaintiffs              residence:
                                                                                                                                                          20-32          Utopia             Parkway
                                                                               Defendant(s).

                                                                                                                                                          Whitestone,                    NY       11357



                                                                                To     the     above       named        Defendants:


                                YOU ARE               HEREBY                   SUMMONED                     to answer          the    complaint                  in this         action        and        to


                   serve     a copy       of your        añswcr           on the plaintiffs                attorneys         within      20 days                after      the       service         of    this


                   su-ens,             exclusive         of the          day     of service        of this       summons,             or within            30 days               after      service            of


                   this    summons            is complete           if this          summons            is not   personally           delivered               to you            within        the     State         of


                   New       York.


                                In case       of your          failure         to answer         this     summo          , a jud               ent    b         default          w    (1 be taken


                   against      you     for    the    relief      demanded               in the     complaint,                 e      er wi           the        costs               this    action.


                   Dated:      Astoria,         New      York

                                July      10, 2020




                                                                                                                       By:     Tonino            Sacco,             Es      .
                                                                                                                       SACCO             &      FIL                         LP
                                                                                                                       Attomeys            f              aint            s)
                                                                                                                       31-             ewtown                       enue
                                                                                                                       Seventh          Floor

                                                                                                                       Astoria,        New                ork       11102

                                                                                                                       (718)       746-3              0
                                                                                                                       Our     File     # 24230-20
                   DEFENDANTS:


                   Lowe's       Home          Improvement
                   700      Dibblee       Drive
                   Oarden       City,      NY        11530




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                     Lowe's    Home      Centers,      LLC
                     700   Dibblee     Drive
                     Garden    City,   NY      11530




                     FORWARD           THIS     IMMEDIATELY   TO   YOUR   ATTORNEY   OR INSURANCE     COMPANY




 IACCO& FRIAS, LLP


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                       SUPREME              COURT               OF THE             STATE            OF NEW           YORK
                       COUNTY             OF QUEENS                                                                                                        Index           No.:


                                                                                                                                                           VERIFIED                       COMPLAINT
                       THALIA            LARDOUTSOS


                                                                                  Plaintiff(s),

                                                -against-



                       LOWE'S              HOME                 IMPROVEMENT                               AND         LOWE'S                  HOME
                       CENTERS,                LLC


                                                                                  Defendant(s).




                                   Plaintift           by   her      attorneys,           SACCO             &     FILLAS,            LLP,       as and         for    her      Verified


                       Complent,           respectfully              alleges,         upon        information            and      belief:


                       1.   The      plaintiff,         Thalia        Lardoutsos,                at all   times     herein         mentioned            was         and     still     is a resident               of


                            the County               of Queens              and    the    State      of New        York.


                       2.   The      defêñdant,             Lowe's           Home         Improvement,              at all     times         herein      motioned,                  was   and       still     is a


                            domestic              limited       liability         company           arganized         and      existing         under         the    laws           of the    State         of


                            New         York,        with      its principal             place     of business            sitüãted          in the     County         of Nassau               and      the


                            State       of New          York.


                       3.   The      defendant,             Lowe's           Home         Improvement,              at all     times         herein      mentioned                  conducted               and


                            carried        on business              in the        County          of Nassau         and     the      State     of New           York.


                       4.   At    all    times        herein       mentioned,              defêñdant            Lowe's       Home           Improvement                   transacted           bu-iness


                            within        the      State    of New            York.


                   .   5.   At    all    times        herein       mentioñed,              defendant            Lowe's       Home           Improvement                   derived         substantial


                            revenue         from        goods         used        or censumed             or services           rendered             in the     State       of New            York.


                       6.   At    all    times        herein       mentioned,              defedet              Lowe's         Home         Improvement                   expected           or should


                            reasonably              have       expected           its acts        to have       ccñseqücñces                 in the     State        of New           York,


                       7.   At    all    times        herein       mendonad,               defendant            Lowe's         Home         Improvement                   derived         ea=ª==dal




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     & FRAAA U.P


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                          revenue        from      interstate        or intemational          commerce.


                     8.   At    all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement               owned           the


                          premises        located         at 700     Dibblee       Drive,     County          of Nassau,          State     of New          York.


                     9.   At    all   times     herein      mentionad,           the   defendant        Lowe's         Home        Improvement               was      one      of the


                          owners        of the     premises          located     at 700     Dibblee          Drive,      County         of Nassau,          State      of New


                          York.


                     10. At     all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement               was      a lessee          of


                          the     premises       leated           at 700   Dibblee       Drive,     County            of Nassau,          State    of New           York.


                     11. At     all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement,               defendant's


                          servants,       agents         and/or     employees          operated       the     premises        located        at 700        Dibblee          Drive,


                          County        of Nassau,          State     of New       York.


                     12. At     all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement,               defendat's


                          servants,       agents      and/or        employees          mainkined            the    premises        located         at 700     Dibblee           Drive,


                          County        of Nassau,          State     of New       York.


                     13. At     all   times     herein      m-tianed,            the   defendant        Lowe's         Home        Improvement,               defendant's


                          servants,       agents         and/or     employees          managed         the    premises         located        at 700       Dibblee           Drive,


                          County        of Nassau,          State     of New       York.


                     14. At     all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement,               defendant's


                          servants,       agents         and/or     employees          controlled       the       premises        located         at 700     Dibblee          Drive,


                          County        of Nassau,          State     of New       York.


                     15. At     all   times     herein      menticñêd,           the   defendant        Lowe's         Home        Improvement,               defendant's


                          servants,       agents         and/or     employees          supervised           the   premises        located         at 700      Dibblee          Drive,


                          County        of Nassau,          State     of New       York.


                     16. On or before            May        30,    2020,   the    defendant         Lowe's         Home       Improvement,                 defendant's


                          servants,       agents         and/or      empicyees         repaired       the    premises         located        at 700    Dibblee              Drive,




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                         County         of Nassau,             State       of New           York.


                   17. On        or before          May       30,       2020,      the    defendant          Lowe's           Home         Improvement,                  defendant's


                         servants,           agents       and/or         employees            inspected          the     premises           located         at 700        Dibblee         Drive,


                         County         of Nassau,             State       of New           York.


                   18. On        or before          May       30,       2020,      the    defendant          Lowe's           Home         Improvement,                  defendant's


                         servants,           agents       and/or         employees            constructed              the    premises           located         at 700      Dibblee         Drive,


                         County         of Nassau,             State       of New           York.


                   19. On        or before          May       30,       2020,      the    defendent          Lowe's           Home         Improvement,                  defendant's


                         servants,           agents      and/or          employees            designed           the    premises           located         at 700        Dibblee       Drive,


                         County         of    Nassau,          State       of New           York.


                   20.   At    all    times      herein        mentioned,                it was     the   duty      of the        defendant           Lowe's         Home          Improvement,


                         defendant's            servants,           agents         and/or      employees               to maintic            said     premises            !ecated      at 700


                         Dibblee         Drive,         County           of Nassau,           State       of New         York,        in a reasonably               safe      and    suitable


                         condition            and      in good          repair.


                   21.   The      defendãñt,            Lowe's           Home        Centers,         LLC,       at all       times       herein      motioned,             was     and      still        is a


                         domestic            limited        liability        company           organized           and       existing        under         the    laws     of the      State         of


                         New         York,      with      its principal             place      of busincss             situated         in the      County         of Ï4assau          and      the


                         State       of New         York.


                   22.   The      defendant,            Lowe's           Home        Centers,         LLC,       at all       times       herein      mendoned              conducted                and


                         carried        on business             in the       County          of Nassau           and     the      State     of New          York.


                   23.   At    all    times      herein        metioned,                 defendant         Lowe's            Home       Centers,          LLC       estad               business


                         within        the    State      of New            York.


                   24.   At    all    times      herein        mentioned,                defendant         Lowe's            Home       Centers,          LLC       derived         substantial


                         revenue         from         goods       used       or consumed              or services             rendered           in the     State        of New        York.


                   25.   At    all    times      herein        mêñdened,                 defendant         Lowe's            Home       Centers,          LLC       expected          or should




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                          reasonably          have       expected          its acts    to have         consequences              in the     State      of New           York.


                    26.   At    all   times     herein      mentioned,           defendant             Lowe's         Home       Centers,        LLC      derived          substantial


                          revenue        from      interstate        or international              commerce.


                    27.   At    all times       herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC      owned           the


                          premises        located         at 700     Dibblee          Drive,      County          of Nassau,          State     of New          York.


                    28.   At    all times       herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC      was       one     of the


                          owners        of the     premises          located      at 700        Dibblee         Drive,       County         of Nassau,          State      of New


                          York.


                    29.   At    all   times     herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC      was       a lessee         of


                          the     premises       located          at 700     Dibblee          Drive,     County          of Nasseu,           State    of New           York.


                    30.   At    all   times     herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC,      defendant's


                          servants,       agents         and/or     employees            operated         the     premises        located        at 700        Dibblee          Drive,


                          County        of Nassau,          State     of New          York.


                    31.   At    all   times     herein      mentioned,           the    defendent          Lowe's         Home         Centers,         LLC,      defendant's


                          servants,       agents         and/or     employees            maintained             the    premises        located         at 700     Dibblee          Drive,


                          County        of Nassau,          State     of New          York.


                    32.   At    all   times     herein      mendenad,            the    defendant          Lowe's         Home         Centers,         LLC,      defendant's


                          servants,       agents         and/or     employees            managed          the     premises         located        at 700       Dibblee          Drive,


                          County        of Nassau,          State     of New          York.


                    33.   At    all   times     herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC,      defendant's


                          servants,       agents         and/or     cmployees            controlled         the       premises        located         at 700     Dibblee          Drive,


                          County        of Nassau,          State     of New          York.


                    34.   At    all   times     herein                           the    dera-1-*           Lowe's         Home                                    defendant's
                                                            mentioñêd,                                                                 Centers,         LLC,


                          servants,       agents         and/or     employees            supervised         the       premises        located         at 700      Dibblee          Drive,


                          County        of Nassau,          State     of New          York.




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                    35.   On or before                 May     30,      2020,      the     defendant             Lowe's         Home         Centers,           LLC,      defendanf           s


                          servants,          agents        and/or         employees            repaired            the premises             located           at 700     Dibblee          Drive,


                          County           of Nassau,            State        of New        York.


                    36.   On or before                 May     30,      2020,      the     defendant             Lowe's         Home         Centers,           LLC,      defendants


                          servants,          agents        and/or         employees            inspected            the     pamises           located          at 700     Dibblee           Drive,


                          County           of Nassau,            State        of New        York.


                    37.   On or before                                             the     deSad•=*              Lowe's         Home                                      def-=dmt's
                                                       May     30,      2020,                                                                Centers,           LLC,


                          servants,          agents        and/or         employees            constructed                the   premicas           located        at 700       Dibblee            Drive,


                          County           of Nassau,            State        of New        York.


                    38.   On or before                 May     30,      2020,      the     defendant             Lowe's         Home         Centers,           LLC,      defendant's


                          servants,          agents        and/or         employees            designed             the    premises          located          at 700      Dibblee           Drive,


                          County           of Nassau,            State        of New        York.


                    39.   At     all     times     herein        mentioned,              it was      the     duty      of the        defendant           Lowe's          Home       Centers,          LLC,


                          defendant's              servants,           agents      and/or       employees                 to rend:               said    premises          located          at 700


                          Dibblee           Drive,        County          of Nassau,           State       of New           York,         in a reasonably              safe     and    suitable


                          condition              and   in good          repair.                                                       .      .


                    40.   That         on or about           May        30,     2020,      while       the    plaintiff,         Thalia          Lardoutscs,             was     lawfúlly          upon


                          the     defendant's             premises            located       at 700         Dibblee          Drive,        County         of Nassau,            State      of New


                                         when      she     was       caused        to fall            a dangerous,               hazardenc              and     unsafe        condition           of the
                          York,                                                                by


                          curb         in the parking            lot     located         in front      of the        subject         premises,           causing         her    to stain


                          grievous           personal          injuries         with      attendant          special        damage.

                                                                          defendañts'
                    4L    Solely          as a result        of the                                negligence,             carelessness             and       recklessness,            Thalia


                          Lardoutsos               was     caused         to suffer         severe         and      serious      personal           injuries       to mind          and      body,         and


                          further,          that   Thalia        Lardoutsos              was      subjected           to great        physical           pain     and     mental          añgüish.


                    42.   The          aforesaid         occurrence             was      caused       by     the     negligence            of the       defendants,             without         any




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                         culpable           conduct              on     the     part       of Thalia             Lardoutsos.


                   43.   By      reason       of the          foregoing,               Thalia           Lardoutsos                 was        severely             injured         and      damaged,              sustained


                         severe         nervous            shock          and        mental            anguish,           great        physical             pain      and        emotional             upset,       some          of


                         which          injuries           are believed                to be permañcat                         in nature           and       duration,            and      Thalia        Lardoutscs


                         will     be permanently                       caused          to suffer              pain,      inconvenience                      and      other        effects         of such         injuries;


                         Thalia         Lardout=s                 incurred             and         in the       future         will      necessarily                incur        further         hospital         and/or


                         medical          expenses               in an effort                to be cured                of said          injuries;          and      Thalia         Lardoutsos               will      be


                         unable         to pursue             Thalia            Lardoutsos's                   usual      duties          with       the     same         degree           of efficiency              as


                         prior      to this        accident,             all     to Thalia              Lardoutsos's                  great       damage.


                   44.   As      a result        of the          foregoing,                plaintiff           has     become             sick,      sore,         lame      and      disabled,             has


                         sustained           severe          and        serious            injuries,            has     suffered           and       will     condñüe              to suffer            severe        mental


                         and      nervous           shock          with         accompañying                      pain,         has      required           medical              treatment          and      was       and


                         will     be unable                to attend            to her        usual           duties      for      a long         period           of time;         was       obliged           to and        did


                         expend          large       sums          of money                 for     medical             care       and     attention           and        will     be required               to expend


                         additional           sums           of money                for     madical             care         in the      future       to attend             to her        injuries         which          she


                         believes          to be of           a permanent                    nature.


                   45.   As      a result        of the          foregoing             negligence                 of the         defend=e,                   the     plaintiff          has      expended             and


                         become           chligated              for      the     sums            of money              for     medical           care       and      etention             for    the     plaintiff          in


                         an effort          to cure          her       of her        injuries            and      to alleviate              her      pain      and                               was     ca=ad          to
                                                                                                                                                                          suffering;


                         incur      damages.


                   46.   This      action          falls     within            one     or more                of the      exceptions               set forth           in Section                1602       of the     Civil


                         Practice          Law        and        Rules.

                                         defendants'
                   47.   Due       to                                 negligence,                 plaintiff           is entitled          to damages.


                                                 WHEREFORE,                                the      plaintiff           demands            judgment                 awarding             damages,            in an


                   amount         exceeding                the     moñctaiy                jurisdictional                 limits         of all      lower          courts         which         would          otherwise




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 BACCO
     & FRAAA LLP


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                   have     jurisdiction,             together    with    interest    and       the   costs    and      disbursements             o           ____,   d such


                   other     and      further     relief     as to this    Court     seems        just   and    proper.




                   Dated:         Astoria,      New        York                                                                              \.

                                  July       10, 2020




                                                                                                              By:     Tonin            acco,      E       .   ×

                                                                                                              SACCO                FILLAS,            LLP
                                                                                                              Attorne         s for    Plaintiff(s)
                                                                                                              31-19           ewtown       Ave
                                                                                                              Seve       th Floor
                                                                                                              Asto            Ne          ork     11102

                                                                                                              (718)      746-3440
                                                                                                              Our     File    # 24230-20




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                     SUPREME                 COURT             OF THE             STATE          OF NEW YORK
                     COUNTY               OF QUEENS

                                                                                                                                 INDEX      NO.:
                     THALIA               LARDOUTSOS


                                                                                 Plaintiff(s),                                   INDIVIDUAX..
                                                                                                                                 VERIFIÇATKON
                                                 -against-


                     LOWE'S               HOME          IMPROVEMENT                         AND       LOWE'S       HOME
                     CENTERS,                LLC


                                                                                 Defendant(s).




                  STATE        OF NEW YORK
                  COUNTY             OF QUEENS



                              Thalia         Lardonnes,                 sworn,      deposes      and    says:


                              That        1 am the          plaintiff          in the within      action.


                              I have         read     the  foregaing  SUMMONS       AND VERIFIED                                 COMPLAINT            and   know    the
                  contents         thereof        and   the same is true to the best of my knowledge,                             except    as to those      matters
                  herein     stated       to be alleged                 upon     information          and belief   and that   as to those       matters,    I believe
                  them     to be true.




                                                                                                                        Thalia     Lardoutsos
                  Sworn       to before_methis


                             day     of


                                             !




                                        Yamifett C. Pemett
                           Commissioner    of Deeds,
                                                      City of New York
                                           No. 4-10170
                                 Cert. Filed in Queens
                             Commission                   County
                                          Expires Navamber 1,
                                                                 2020




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               SUPJtEME             GOURT         OF THE           STATE         OF NEW               YORK
               COUNTY           OF QUEENS
                                                                                                                            Index        No.:




               THALIA          LARDOUTSOS


                                                                Plaintiff(s),

                                     -against-


               LOWE'S         HOME         IMPROVEMENT                       AND        LOWE'S               HOME           CENTERS,                   LLC


                                                                Defendant(s).




                                                              SUMMONS                   and      VERIFIED                   GOMPLAINT




               Parsuant       to 22    NYCRR            130-1.1,      the    undersigned,              an attorney             a            ed t        prac    ce in     e courts
               of New        York     State,     certifies    that,   upon        information               and    belief           d re           nabl        nqui     , the
               contentions          contaiñêd        in the   annexed           documents             are noffrivolo                s.


                Dated:       Queens,       NY
                             July     10, 2020

                                                                                                      Signature:
                                                                                                      By:     Tonino                cco,        Esq.




                                                                        SACCO               &   FILLAS,               LP
                                                                            Attorneys           for   Plaintiff(s)
                                                                                 Thalia         Lardoutsos
                                                                            31-19       Newtown              Avenue
                                                                                      Seventh         Floor

                                                                         Astoria,         New         York        11102

                                                                                    (718)       746-3440
                                                                                Our     File     # 24230-20




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           SUPREME                 COURT    OF THE                                     STATE           OF       NEW YORK
           COUNTY                 OF OUEENS

                                                        STATEMENT                           OF AUTHORIZATION                                       FOR
                                                                                       ELECTRONIC     FILING
                                       (Single             Attorney                     Authorizing                 Individual                 Filing          Agent)


                         I,
                                TONINO             SACC_O
                                                                                                       _, Esq., ( Attorney             Registration               No.
           2.MS          TI      1                    ) am an autho                      zed    user      of the New York              State      Courts          Electronic         Filing
           System            ("NYSCEF")            (User             IDT           X        CCO              ). I hereby           authorize
           _BEGINA              M.     SZMUC                                                                          ("the   filing  agent")    to utilize    his/her
           NYSCEF             filing   agent          ID       to file       documents            on my behalf    and at my direction         in any e-filed      matter
           in which           I am counsel              of record                 through       the NYSCEF     system,     as provided     in   Section     202.5-b    of
           the      Uniform          Rules      for     the       Trial           Courts.


                         This     authorization                      extends           to any consensual       matter   in which   I have previously
           ansented             to e-filing,   to any mandatory                              matter    in which    I have recorded     my representation,                                          and
           to any matter              in which   I may authorize                            the filing    agent to record    my consent    or representation
           in the NYSCEF                system.


                         This     authorization                      extends           to any and all documents     I generate and submit                                        to the       filing
           agent       for   filing   in any such matter.                              This authorizatics,   posted   once on the NYSCEF                                         website           as to
           each       matter       in which  I am counsel                              of record,       shall    be daamad             to =_-,--=gany                   any   document          filed
           in that      matter         by the         filing         agent.


                         This     authorization                      also     extends          to matters        of payment,            which           the    filing  agent may make
           either      by debiting             an account                   the filing         agent     mainnies           with      the   County            Clerk   of any authorized
                                       or by debiting                       an account           I maintain         with      the                Clerk           of any authorized      e-
           e-filing     county                                                                                                        County
           filing     county.


                         This     au             ·zation             regarding   this filing                agent    shall       continue          until       I revoke         it in writing
           on a p                    ed fo                               d to the E-Filing                Resource           Center.


           Dat         : 06/              019




                                                                                                                    ASTORIA,                NY      11102

           Signature                                                                                                City,     State     and      Zip       Code


                       NO SACCO,                   E             .                                                   718-746-3440
           P     nt Name                                                                                            Phone



            SACCO               & FILLAS              LLP                                                            tsacco@saccofillas.com

           Firm/Department                                                                                          E-Mail          Address



           31-19         NEWTOWN                      AVE,            7 FL

           Street      Address
                                                                                                                                                                               (6/6/13)




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                                                                              NYSCEF:  08/04/2020
     Form 27 - AFFIDAVIT          OF SERVICE
                                                                                                                                                                        P3494341

           SACCO & FILLAS,                     LLP            REGINA M. SZMUC
    SUPREME COURT QUEENS                      COUNTY         STATE OF NEW YORK
     THALIA      LARDOUTSOS                                                                                                                          index      No.     710351/2020
                                                                                                                       PLAINTIFF                     Date       Filed
                                                                  -    vs     -                                                                      Office           No.   24230-20
     LOWE'S      HOME IMPROVEMENT,                     ETANO                                                                                         Court        Date.
                                                                                                                       DEFENDANT
               STATE     OF NEW YORK,                  COUNTY          OF NASSAU                     :SS:

    CM=·™'         SPANO                    sworn,     deposes                            and says;       I am over           18     years     of    age,   not         a party     to
                            being   duly
    this      action,    and reside      in  the   State    of                          New York.       That  on the               23RD      day    of    JULY,          2020   11:05AM
    at
             700 DIBBLEE    DRIVE
             GARDEN CITY    NY 11530
    I served    a true   copy   of the   SUMMONS AND VERIFIED           COMPLAINT    upon                                            LOWE'S  HOME IMPROVEMENT  the
    DEFENDANT    therein    named  by delivering       to,     and leaving   personally                                               with  CHRIS OBANYA,  MANAGER
    AUTHORIZED     TO ACEPT a true     copy    of each     thereof.

    Deponent         describes          the         person       served            as    aforesaid          to   the   best    of     deponent's            ability         at   the   time
    and     circumstances          of         the      service          as        follows:
     SEX:     MALE       COLOR:     BLACKHAIR:                    BALD
     APP.AGE:        53 APP.      HT:         5'8     APP.       WT:        190
     OTHER      IDENTIFYING         FEATURES
     GLASSES



     Sworn      to   before      me this
     24T         y   o      ULY,   2020

                                                                                                 CHARLES   SPANO
                                                                                                 PM Legal,   LLC
     TI·            OMPSON                                                                       75 MAIDEN   LANE 11TH FLOOR
     Notary    Public,        State    of New                York                                NEW YORK,   NY 10038
     NO. 01TH6368449                                                                             Reference   No: 3-SFLLP-3494341
     Qualified      in    KINGS     COUNTY
     Commission        Expires      12/11/2021




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                                                                                                                                                                    P3494366

           SACCO & FILLAS,                      LLP             REGINA M. SZMUC
    SUPREME COURT QUEENS                       COUNTY          STATE OF NEW YORK                                          __
     THALIA      LARDOUTSOS                                                                                                                      index      No.     710351/2020
                                                                                                                        PLAINTIFF                Date       Filed
                                                                   -    vs     -                                                                 Office           No.   24230-20
     LOWE'S      HOME       IMPROVEMENT,                ETANO                                                                                    Court        Date.
                                                                                                                        DEFENDANT
               STATE     OF NEW YORK,                   COUNTY         OF NASSAU                      :SS:

    CNARLES     SPANO       being    duly     sworn,      deposes     and says;     I am over     18 years    of age,   not   a party     to
    this   action,       and reside       in   the    State    of New York.       That  on the      23RD    day of    JULY,    2020   11:05AM
    at
             700 DIBBLEE         DRIVE
             GARDEN CITY         NY 11530
    I served       a true     copy   of   the    Snwuous      AND VERIFIED       COMPLAINT     upon   LOWES'S   HOME CENTERS,       LLC the
    DEFENDANT       therein      named    by delivering           to,   and leaving    personally      with   CHRIS   OBANYA,    MANAGER
    AUTHORIZED        TO ACCEPT      a true      copy     of each     thereof.

    Depõñeñt         describes           the         person       served            as    aforesaid          to   the   best   of   depeñent's          ability         at   the   time
    and     circumstances           of         the      service          as        follows:
     SEX:     MALE        COLOR:         BLACK         HAIR:       BALD
     APP.AGE:        53 APP.       HT:         5'8     APP.       WT:        190
     OTHER      IDENTIFYING          FEATURES
     GLASSES



     Sworn      to   before    me this
     24TH     day      f JULY,   202O

                                                                                                  CHARLES   SPANO
                                                                                                  PM Legal,   LLC
                  HOMPSON                                                                         75 MAIDEN   LANE 11TH FLOOR
     Notary    Public,        State    of New                  York                               NEW YORK,   NY 10038
     NO. 01TH6368449                                                                              Reference   No: 3-SFLLP-3494366
     Qualified      in    KINGS     COUNTY
     Commission        Expires      12/11/2021




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         SUPREME                  COURT                  OF THE              STATE             OF      NEW YORK
         COUNTY                  OF



                                                       STATEMENT                 OF AUTHORIZATION                                                 FOR
                                                                            ELECTRONIC     FILING
                                        (Managing               Attorney               Authorizing                     Filing           Agent              Entity)


                        I, v                                                                   , Esq.,      ( Attorney              Registration              No.                      ) am the
         managing              attorney         o /attorney            in charge        of e-filing         for
                                                                                                  (the        "Firm").         I hereby  acknowledge                            and
         represent            that      the    attorneys        in the       Firm      who      are    authorized             users of the New York                            State
         Electronic            Filing         System       ("NYSCEF")            hereby    authorize     any employee        of
          PM        LEGAL                                                  who  possesses     a NYSCEF      filing   agent    ID to file documents     on
         their      behalf       and      at their       direction,          as a filing  agent,    in any e-filed    matter    in which   they are
         counsel            of record         through         NYSCEF,          as provided     in Section    202.5-b     of the Uniform       Rules for the
         Trial       Courts.


                       This      authorization
                                             extends    to any consensual       matter       in which   these    attorneys                                                             have

         previously            consented
                                     to e-filing     or may   hereafter    consent,     to    any mandatory       matter                                                         in which

         they   have recorded     their  representation,        and   to any  matter      in   which  they    authorize                                                         the      filing
         agent to record     consent    or representation        in the NYSCEF         system.


                        This     authorization                extends        to any      and     all documents                  these       attorneys               generate           and
         submit         to the     filing    agent  for filing               in any      such       matter.       This       authorization,                   posted         once        on the
         NYSCEF              website      as to each matter                  in which          these     attorneys              are     counsel           of record,           shall     be
         deemed             to accompany                any   document              in that     matter        filed      by the         filing      agent        on behalf             of these
         attorneys.


                        This     authorization                also     extends        to matters         of payment,                  which        the     filing         agent   may make
         either       by debiting              an account            the filing       agent     maintains             with       the     County            Clerk         of any authorized

         e-filing   county      or by debiting                       an account         the     Firm     maintains               with     the County                    Clerk   of any
         authorized      e-filing    county.


                        This      authorization              regarding     this filing              agent      shall        continue             until     the       Firm      revokes            the
         authorization                in writing           on a prescribed      form             delivered            to the        E-Filing             Resource           Center.




         Dated:




         S          ature
                                                               /dona                           City,     State        and     Zip       Code
                                                                                                                                              b                     \   U   D2.



             rint    Name                                                                      Phone



          Firm/Department                                                                       E-Mail         Address




          Street       A      dress




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                  SUPREME                        COURT                 OF THE                  STATE                 OF NEW                   YORK
                  COUNTY                     OF QUEENS

                                                                                                                          __                                                     Index         No.         710351/2020



                  THALIA                   LARDOUTSOS,


                                                                                             Plaintiff,                                                                          NOTICE                    OF MOTION
                                                                                                                                                                                 FOR           DEFAULT           JUDGMENT
                                                   -against-



                  LOWE'S                    HOME                IMPROVEMENT                                      and         LOWE'S                      HOME
                  CENTERS,                        LLC,


                                                                                             Defendants.




                  C O U N S E L O R S :


                                  PLEASE                       TAKE                  NOTICE,                    that       upon          the       annexed               Affirmation                  of        Tonino            Sacco,           Esq.,


                  dated         the        6th     day        of November,                        2020,          the       Affidavit               of     Plaintiff,            THALIA                LARDOUTSOS,                                sworn


                  to    the      6th        day       of       November,                     2020,             and        upon          all    the        pleadings                  and      proceediñgs                  heretofore                had



                  herein,         the            undersigned                       will      move             before            this        Court          at    an      at     the        Courthouse                   located            at    88-11



                  Sutphin             Boulevard,                     Jamaica,               N.Y.             11435         on     the       14th         day        of   December,                    2020         at 9:30            o'clock             in



                  the     forenoon                  of        that     day           or    as soon              thereafter              as coüñsel                  can        be     heard       for       an      Order           pursuant              to



                  Section             § 3215             of    the         Civil          Practice            Law         and         Rules,            directing          the        entry      of judgment                      upon          default



                  in favor            of    Plaintiff                and      against             the        Defendants,                LOWE'S                  HOME                 IMPROVEMENT                              and          LOWE'S


                  HOME            CENTERS,                           LLC,            on     the      issue           of   liability           and         setting         the        matter      down             for     an inquest               as to



                  damages,                 for     an award                 of costs,             disbursements                        and      reasonable                attorney's             fees        to abide              this     Motion,


                  and     for     such            other         and         further          relief           as to this           Court            may         seem          just     and      proper.



                                  The            above-entitled                       action            is for       personal               injuries.           This       action            is not        on     the     trial      calendar.



                                  TAKE               FURTHER                              NOTICE                 that,       pursuant               to Section                § 2214(b)           of the          Civil           Practice         Law


                  and     Rules,             all                                    papers,             if    any,        shall        be     served            at least             seven      (7)        days         before            the    return
                                                     answering




    & RLLAS,LLP
SACCO


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                   date     of this    motion.


                   Dated:      Astoria,        New       York
                               November          6, 2020



                                                                                       Yours,          e       .,




                                                                                       By:     To              o Sacco,          E         .
                                                                                       SAC                 &        FILL             , LLP
                                                                                       Attor        eys for                aintiff
                                                                                       31-1                         own     Avenue
                                                                                       Seventh             Floor

                                                                                       Astoria,            New         York          111

                                                                                       (718)        746-3440
                                                                                       Our      File       # 24230-20



                   TO:                LOWE'S          HOME         IMPROVEMENT
                                      700   Dibblee        Drive
                                      Garden     City,      N.Y.    11530


                                      LOWE'S          HOME         CENTERS,      LLC
                                      700   Dibblee        Drive
                                      Garden     City,      NY     11530




SACCO&FILLAS,LLP


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              SUPREME               COURT          OF THE            STATE            OF NEW                YORK
              COUNTY               OF QUEENS




              THALIA             LARDOUTSOS,


                                                                    Plaintiff,


                                      -against-



              LOWE'S            HOME         IMPROVEMENT                          and       LOWE'S               HOME           CENTERS,             LLC,


                                                                    Defendants.




                                                  NOTICE            OF     MOTION                      FOR        DEFAULT               JUDGMENT



              Pursuant          to 22      NYCRR        130-1.1,         the      undersigned,                 an attorney            admitted       to practice       in the   courts     of

              New      York       State,    certifies       that,   upon         information              and       beliefand          reasonable           inquiry,   the   contentions

              contained          in the     annexed         documents             are     not       frivolous.


              Dated:           Astoria,     N.Y.
                              November            6, 2020

                                                                                                                 Signa          re:




                                                                                                                 By:     Toni          Sacco,       EAq.




                                                                                 SACCO              &    FILLAS,                L

                                                                                   Attorneys             for      Plaintiff
                                                                                  31-19         Newtown                Avenue
                                                                                             Seventh             Floor

                                                                                 Astoria,         New          York       11102

                                                                                            (718)       746-3440
                                                                                     Our        File     # 24230-20




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                    SUPREME                       COURT                OF THE                STATE             OF      NEW YORK
                    COUNTY                    OF QUEENS


                                                                                                                                                                          Index         No.        710351/2020
                   THALIA                    LARDOUTSOS,


                                                                                            Plaintiff,                                                                    AFFIRMATION                                IN      SUPPORT


                                                   -against-



                   LOWE'S                    HOME                IMPROVEMENT                                 and        LOWE'S                    HOME
                   CENTERS,                       LLC,


                                                                                            Defendants.




                                  Tonino              Sacco,            Esq.,          an      attorney          admitted                   to practice             in    the     State       of     New          York,          affirms             the



                   following                 under         the    penalties              of       perjury:


                           1.     That             I am of         the       law        firm        of     Sacco           &        Fillas,       LLP,        the        attorneys            of    record           for     the       Plaintiff,


                   and,        as such,             I am         thorcüghly                  conversant                with           the      facts       and      circumstances                     herein          based            upon         the


                   contents             of    the     file       maintained                  by     this     office.


                          2.      I make              this        Affirmation                      in    Support               of      this      Motion             for     an      order          directing               the     entry        of     a


                   judgment                  by     default            against            the       Defendants,                      LOWE'S                HOME              IMPROVEMENT                                   and       LOWE'S


                   HOME            CENTERS,                        LLC,          as to          the      issue        of       liability,          setting          the      matter           down          for      an      inquest          as to


                   damages              at the        trial       of    this         action,        awarding               the        costs,       disbursements                     and      reasonable                   attorney's           fees


                   to abide         this          motion,          and         for     such        other       and         further            relief       as to this           Court         may      seem          just        and     proper.


                          3.      This            is an action             for        personal             injuries            occurring               from      an incident                on      May        30,     2020          when           the



                   Plaintiff        was            caused         to fall        by      a dangerous,                  hazardous                 and       unsafe          condition               of the      curb         in the       parking

                                                              Defendants'
                   lot    in    front         of     the                                     premises            located                at 700         Dibblee             Drive,          County           of     Nassâü,              State         of



                   New                                           her     to sustain                 grievous           personal                 injuries         with       attendant               special          damage.
                               York,          causing


                          4.      A          Summons                   and           Verified              complaint                   were        served            upon           Defendant                     LOWE'S                 HOME




SACCO
    & FILLAS,LLP


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                   IMPROVEMENT,                            on     or about             July      23,      2020.            To       date,         no      answer            has       been         interposed                 on     behalf         of



                   Defendant,             LOWE'S                HOME               IMPROVEMENT.                                      True           photocopy                    of    the     Summons                       and        Verified


                   Complaint             is attached              hereto          as Exhibit                 A.        True        photocopy                   of     the      Affidavit             of     Service               is attached


                   hereto       as Exhibit            B.


                          5.     A      Summons                 and           Verified               complaint                 were           served                upon          Defendant,                  LOWE'S                     HOME


                   CENTERS,               LLC,         on       or     about          July      23,     2020.             To       date,       no         answer            has       been         interposed                on     behalf          of



                   Defendant,             LOWE'S                HOME               CENTERS,                        LLC.             True           photocopy                   of      the     Summons                       and        Verified



                   Complaint             is attached            hereto          under          Exhibit            A.     True        photocopy                      of the       Affidavit               of Service               is attached



                   hereto       as Exhibit            C.


                          6.     The       time        for           Defendants,                     LOWE'S                   HOME                 IMPROVEMENT                                     and        LOWE'S                     HOME


                   CENTERS,               LLC,        to appear                 and      interpose                an answer                 has     now          expired.



                          7.     C.P.L.R.            § 3215(a)                provides:


                                                "When             a defendant                  has       failed          to    appear,              plead           or     proceed            to    trial         of

                                                an    action            reached               and       called           for       trial,         or      when           the        court      orders              a

                                                dismissal               for      any         other      neglect               to   proceed,                the       plaintiff           may         seek          a
                                                                                                         him."
                                                default          judgment                against



                          8.     "Due         process                requires            proof          of        service           on        the         defendant                   prior         to      entry            of     a     default


                   judgment."
                                          People           v. Eica            Const.          Corp.,          85 Misc.2d                     1026,            381      N.Y.S.2d               377         (1975).



                          9.     In     compliance                   with       the       additional                   service          requirements                        imposed                by       the        C.P.L.R.,              your



                   Affirmant's             office          sent        letters          on      August             24,         2020,          that         included                a copy            of     the        Summans                 and



                   Verified           Complaint            and        Affidavit              of Service,               to the       Defendants,                      LOWE'S                 HOME             IMPROVEMENT


                   and      LOWE'S             HOME               CENTERS,                      LLC,          advising               them              that      a Summons                    and          Verified               Complaint



                   were        served         upon         them.            These            letters         were         sent         via        first        class        mail        in    plain          envelopes                   marked


                                                Confidential"
                   "Personal            and                                       as     required                 by     C.P.L.R.                 § 3215(f).                   The        letters           did        not        evince       any




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    & FILLAS,LLP
SACCO


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                  marking           that       it    was         sent      from         an    attorney's             office      or        that        it    concerned              an      alleged                 lawsuit.            True


                  phetecopies               of       good         faith       letters        are     attached           hereto         as Exhibit                    D.      The         Affidavit                   of     Additional



                  Mailing          under            C.P.L.R.            § 3215(f)            is attached             herein      as Exhibit                    E.


                          10. That          the       Defendants,                 LOWE'S              HOME            IMPROVEMENT                                   and    LOWE'S                 HOME                    CENTERS,


                  LLC,      have         not        served        an Answer              or moved             with       respect           to the            Complaiñt              herein,        nor          have          their     time


                  to do     so been            extended.



                          11. That,            therefore,                 Defeñdañts,               LOWE'S                  HOME             IMPROVEMENT                                    and       LOWE'S                      HOME


                  CENTERS,                  LLC,           are    now        in default.



                          12. Attached                 hereto           as Exhibit             F    is the        Affidavit           of     the        Plaintiff,           duly        sworn            to        the     6th       day    of



                  November,                2020,        respectfully,                  which        sets     forth      the    facts         constituting                  the      claim         and      the            default.



                          13. That          no       previous              application              for    the     relief     sought              in        this    Motion           has      ever         been             made;           and



                  due     to the      foregoing,                 default        judgment              against         the     Defendants,                      LOWE'S            HOME                IMPROVEMENT


                  and     LOWE'S               HOME               CENTERS,                   LLC,         should        be granted                in        favor     of the         Plaintiff.



                                 WHEREFORE,                               it is respectfully                 requested           that         this          motion         be granted                in        its    entirety,             and



                  that     such      other           and     further          relief         be    granted           as to    this         Court             seems        just           d prop                r,    including              the



                  costs     of    this      motion.



                  Dated:         Astoria,            New         York
                                 November                  6, 2020




                                                                                                                                                             Tonino         Sa            , Esq.




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    & RLLAS,LLP
SACCO


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                  SUPREME                 COURT                  OF THE               STATE          OF NEW              YORK
                  COUNTY                 OF QUEENS


                                                                                                                                                                Index        No.      710351/2020

                  THALIA                LARDOUTSOS,


                                                                                  Plaintiff,
                                                                                                                                                                AFFIDAVIT
                                           -against-                                                                                                            OF        SERVICE


                  LOWE'S                HOME              IMPROVEMENT                             AND          LOWE'S              HOME
                  CENTERS,                LLC,


                                                                                  Defendants.




                  STATE            OF NEW                  YORK                   }
                                                                                  } SS.:
                  COUNTY                 OF QUEENS                                }


                                 Scott     Diamond,                   being       duly         sworn,        says:


                                 I am not            a party          to the      action;         I reside        at Mineola,              New         York,        and     I am over          18 years         of    age.



                                 On      the        6th        day     of     November,              2020         , I served            the     within          Notice         of     Motion          for      Default

                  Judgment                along             with            Supporting               Affidavit              and         Affirmation,                 and           Request       for         Judicial

                  Intervention                 by         depositing             true       copies          thereof,        enclosed             in    a post-paid             wrapper,          in     an      official

                  depository             under            the    exclusive              care     and        custody         of    the      United         States          Postal      Service         within         New
                  York         State,    addressed                   to the     following            at the       last   known            address         set    forth       below:



                                                Lowe's               Home        Improvement                                      Lowe's         Home           Centers,           LLC
                                                700         Dibblee            Drive                                              700     Dibblee          Drive

                                                Garden               City,      NY       11530                                    Garden         City,         NY     11530




                                                                                                                                           S              iamond

                         orn     to be         re          e
                   n Novemb                         , 2020


                                                                                                                     TONINO               SACCO
                                                                                                 Notary           Public,          State         of      New        York
                                                                                                                  No.
                  NOTA             Y           B      IC                                                                    02SA4979498
                                                                                                        Q   ualified         in Q ueens
                                                                                                                                                       County
                                                                                                 Commission                 Expires            April     01,     2023


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    & FILLAS,


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                   SUPREME                COURT           OF THE                STATE          OF NEW            YORK                                     Filed:
                   COUNTY               OF QUEENS
                                                                                                                                                          Index          No.:


                   THALIA             LARDOUTSOS                                                                                                          Plaintiff             designates
                                                                                                                                                          QUEENS                  County            as the
                                                                               Plaintiff(s),                                                              place          of trial.


                                          -against-
                                                                                                                                                          S     U   M M O N                   S


                   LOWE'S               HOME             IMPROVEMENT                               AND           LOWE'S
                                                                                                                                       HOMEThe                      basis         of venue            is
                   CENTERS,               LLC
                                                                                                                                                          Plaintiffs              residence:
                                                                                                                                                          20-32          Utopia             Parkway
                                                                               Defendant(s).

                                                                                                                                                          Whitestone,                    NY       11357



                                                                                To     the     above       named        Defendants:


                                YOU ARE               HEREBY                   SUMMONED                     to answer          the    complaint                  in this         action        and        to


                   serve     a copy       of your        añswcr           on the plaintiffs                attorneys         within      20 days                after      the       service         of    this


                   su-ens,             exclusive         of the          day     of service        of this       summons,             or within            30 days               after      service            of


                   this    summons            is complete           if this          summons            is not   personally           delivered               to you            within        the     State         of


                   New       York.


                                In case       of your          failure         to answer         this     summo          , a jud               ent    b         default          w    (1 be taken


                   against      you     for    the    relief      demanded               in the     complaint,                 e      er wi           the        costs               this    action.


                   Dated:      Astoria,         New      York

                                July      10, 2020




                                                                                                                       By:     Tonino            Sacco,             Es      .
                                                                                                                       SACCO             &      FIL                         LP
                                                                                                                       Attomeys            f              aint            s)
                                                                                                                       31-             ewtown                       enue
                                                                                                                       Seventh          Floor

                                                                                                                       Astoria,        New                ork       11102

                                                                                                                       (718)       746-3              0
                                                                                                                       Our     File     # 24230-20
                   DEFENDANTS:


                   Lowe's       Home          Improvement
                   700      Dibblee       Drive
                   Oarden       City,      NY        11530




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                     Lowe's    Home      Centers,      LLC
                     700   Dibblee     Drive
                     Garden    City,   NY      11530




                     FORWARD           THIS     IMMEDIATELY   TO   YOUR   ATTORNEY   OR INSURANCE     COMPANY




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                       SUPREME              COURT               OF THE             STATE            OF NEW           YORK
                       COUNTY             OF QUEENS                                                                                                        Index           No.:


                                                                                                                                                           VERIFIED                       COMPLAINT
                       THALIA            LARDOUTSOS


                                                                                  Plaintiff(s),

                                                -against-



                       LOWE'S              HOME                 IMPROVEMENT                               AND         LOWE'S                  HOME
                       CENTERS,                LLC


                                                                                  Defendant(s).




                                   Plaintift           by   her      attorneys,           SACCO             &     FILLAS,            LLP,       as and         for    her      Verified


                       Complent,           respectfully              alleges,         upon        information            and      belief:


                       1.   The      plaintiff,         Thalia        Lardoutsos,                at all   times     herein         mentioned            was         and     still     is a resident               of


                            the County               of Queens              and    the    State      of New        York.


                       2.   The      defêñdant,             Lowe's           Home         Improvement,              at all     times         herein      motioned,                  was   and       still     is a


                            domestic              limited       liability         company           arganized         and      existing         under         the    laws           of the    State         of


                            New         York,        with      its principal             place     of business            sitüãted          in the     County         of Nassau               and      the


                            State       of New          York.


                       3.   The      defendant,             Lowe's           Home         Improvement,              at all     times         herein      mentioned                  conducted               and


                            carried        on business              in the        County          of Nassau         and     the      State     of New           York.


                       4.   At    all    times        herein       mentioned,              defêñdant            Lowe's       Home           Improvement                   transacted           bu-iness


                            within        the      State    of New            York.


                   .   5.   At    all    times        herein       mentioñed,              defendant            Lowe's       Home           Improvement                   derived         substantial


                            revenue         from        goods         used        or censumed             or services           rendered             in the     State       of New            York.


                       6.   At    all    times        herein       mentioned,              defedet              Lowe's         Home         Improvement                   expected           or should


                            reasonably              have       expected           its acts        to have       ccñseqücñces                 in the     State        of New           York,


                       7.   At    all    times        herein       mendonad,               defendant            Lowe's         Home         Improvement                   derived         ea=ª==dal




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                          revenue        from      interstate        or intemational          commerce.


                     8.   At    all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement               owned           the


                          premises        located         at 700     Dibblee       Drive,     County          of Nassau,          State     of New          York.


                     9.   At    all   times     herein      mentionad,           the   defendant        Lowe's         Home        Improvement               was      one      of the


                          owners        of the     premises          located     at 700     Dibblee          Drive,      County         of Nassau,          State      of New


                          York.


                     10. At     all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement               was      a lessee          of


                          the     premises       leated           at 700   Dibblee       Drive,     County            of Nassau,          State    of New           York.


                     11. At     all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement,               defendant's


                          servants,       agents         and/or     employees          operated       the     premises        located        at 700        Dibblee          Drive,


                          County        of Nassau,          State     of New       York.


                     12. At     all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement,               defendat's


                          servants,       agents      and/or        employees          mainkined            the    premises        located         at 700     Dibblee           Drive,


                          County        of Nassau,          State     of New       York.


                     13. At     all   times     herein      m-tianed,            the   defendant        Lowe's         Home        Improvement,               defendant's


                          servants,       agents         and/or     employees          managed         the    premises         located        at 700       Dibblee           Drive,


                          County        of Nassau,          State     of New       York.


                     14. At     all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement,               defendant's


                          servants,       agents         and/or     employees          controlled       the       premises        located         at 700     Dibblee          Drive,


                          County        of Nassau,          State     of New       York.


                     15. At     all   times     herein      menticñêd,           the   defendant        Lowe's         Home        Improvement,               defendant's


                          servants,       agents         and/or     employees          supervised           the   premises        located         at 700      Dibblee          Drive,


                          County        of Nassau,          State     of New       York.


                     16. On or before            May        30,    2020,   the    defendant         Lowe's         Home       Improvement,                 defendant's


                          servants,       agents         and/or      empicyees         repaired       the    premises         located        at 700    Dibblee              Drive,




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                         County         of Nassau,             State       of New           York.


                   17. On        or before          May       30,       2020,      the    defendant          Lowe's           Home         Improvement,                  defendant's


                         servants,           agents       and/or         employees            inspected          the     premises           located         at 700        Dibblee         Drive,


                         County         of Nassau,             State       of New           York.


                   18. On        or before          May       30,       2020,      the    defendant          Lowe's           Home         Improvement,                  defendant's


                         servants,           agents       and/or         employees            constructed              the    premises           located         at 700      Dibblee         Drive,


                         County         of Nassau,             State       of New           York.


                   19. On        or before          May       30,       2020,      the    defendent          Lowe's           Home         Improvement,                  defendant's


                         servants,           agents      and/or          employees            designed           the    premises           located         at 700        Dibblee       Drive,


                         County         of    Nassau,          State       of New           York.


                   20.   At    all    times      herein        mentioned,                it was     the   duty      of the        defendant           Lowe's         Home          Improvement,


                         defendant's            servants,           agents         and/or      employees               to maintic            said     premises            !ecated      at 700


                         Dibblee         Drive,         County           of Nassau,           State       of New         York,        in a reasonably               safe      and    suitable


                         condition            and      in good          repair.


                   21.   The      defendãñt,            Lowe's           Home        Centers,         LLC,       at all       times       herein      motioned,             was     and      still        is a


                         domestic            limited        liability        company           organized           and       existing        under         the    laws     of the      State         of


                         New         York,      with      its principal             place      of busincss             situated         in the      County         of Ï4assau          and      the


                         State       of New         York.


                   22.   The      defendant,            Lowe's           Home        Centers,         LLC,       at all       times       herein      mendoned              conducted                and


                         carried        on business             in the       County          of Nassau           and     the      State     of New          York.


                   23.   At    all    times      herein        metioned,                 defendant         Lowe's            Home       Centers,          LLC       estad               business


                         within        the    State      of New            York.


                   24.   At    all    times      herein        mentioned,                defendant         Lowe's            Home       Centers,          LLC       derived         substantial


                         revenue         from         goods       used       or consumed              or services             rendered           in the     State        of New        York.


                   25.   At    all    times      herein        mêñdened,                 defendant         Lowe's            Home       Centers,          LLC       expected          or should




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                          reasonably          have       expected          its acts    to have         consequences              in the     State      of New           York.


                    26.   At    all   times     herein      mentioned,           defendant             Lowe's         Home       Centers,        LLC      derived          substantial


                          revenue        from      interstate        or international              commerce.


                    27.   At    all times       herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC      owned           the


                          premises        located         at 700     Dibblee          Drive,      County          of Nassau,          State     of New          York.


                    28.   At    all times       herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC      was       one     of the


                          owners        of the     premises          located      at 700        Dibblee         Drive,       County         of Nassau,          State      of New


                          York.


                    29.   At    all   times     herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC      was       a lessee         of


                          the     premises       located          at 700     Dibblee          Drive,     County          of Nasseu,           State    of New           York.


                    30.   At    all   times     herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC,      defendant's


                          servants,       agents         and/or     employees            operated         the     premises        located        at 700        Dibblee          Drive,


                          County        of Nassau,          State     of New          York.


                    31.   At    all   times     herein      mentioned,           the    defendent          Lowe's         Home         Centers,         LLC,      defendant's


                          servants,       agents         and/or     employees            maintained             the    premises        located         at 700     Dibblee          Drive,


                          County        of Nassau,          State     of New          York.


                    32.   At    all   times     herein      mendenad,            the    defendant          Lowe's         Home         Centers,         LLC,      defendant's


                          servants,       agents         and/or     employees            managed          the     premises         located        at 700       Dibblee          Drive,


                          County        of Nassau,          State     of New          York.


                    33.   At    all   times     herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC,      defendant's


                          servants,       agents         and/or     cmployees            controlled         the       premises        located         at 700     Dibblee          Drive,


                          County        of Nassau,          State     of New          York.


                    34.   At    all   times     herein                           the    dera-1-*           Lowe's         Home                                    defendant's
                                                            mentioñêd,                                                                 Centers,         LLC,


                          servants,       agents         and/or     employees            supervised         the       premises        located         at 700      Dibblee          Drive,


                          County        of Nassau,          State     of New          York.




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                         35.   On or before                May     30,       2020,      the     defendant                 Lowe's        Home       Centers,           LLC,      defendants


                               servants,         agents       and/or          employees             repaired               the premises            located         at 700      Dibblee          Drive,


                               County          of Nassau,             State        of New        York.


                         36.   On or before                May     30,       2020,      the     defendant                 Lowe's        Home       Centers,           LLC,      defendant's


                               servants,         agents       and/or          employees             inspactad               the     premises        located           at 700    Dibblee           Drive,             .


                               County          of Nassau,             State        of New        York.


                         37.   On or before                May     30,       2020,      the     defendant                 Lowe's        Home       Centers,           LLC,      defendant's


                               servants,         agents         and/or        employees             constructed                   the   premises          located       at 700       Dibblee          Drive,


                               County          of Nassau,             State        of New        York.


                         38.   On or before                May     30,       2020,      the     defendant                 Lowe's        Home       Centers,           LLC,      defendant's


                               servants,         agents         and/or        employees             designed                the    premises        located          at 700      Dibblee           Drive,


                               County          of Nassau,             State        of New        York.


                         39.   At     all    times     herein         mentioned,              it was      the        duty      of the        def-ndant        Lowe's           Home       Centers,          LLC,


                               defendant's             servants,            agents      and/or          cmployees                 to ment-½          said      p=nises           located          at 700


                               Dibblee          Drive,       County           of Nassau,            State           of New          York,      in a reasonably               safe     and    suitable


                               condition             and    in good          repair.


                         40.   That         on or about          May         30,     2020,      while          the    plaintiff,         Thalia      Lardoutsos,               was     lawfully          upon


                               the     defendant's           premises              located        at 700        Dibblee             Drive,      County         of Nassau,            State      of New


                               York,         when      she      was      caused         to fall     by     a dangerous,                  hazardous           and      unsafe        condition         of the


                               curb         in the parking            lot     located         in front         of the        subject         premises,        causing          her    to sustain


                               grievous          personal          injuries          with      attendant             special        damage.

                                                                               defendants'
                         41.   Solely         as a result        of the                                 negligence,                carelessness            and      recklessness,            Thalia


                               Lardcutsos             was     caused           to suffer         severe         and        serious       personal          injuries      to mind          and      body,       and


                               further,        that    Thalia         Lardoutsos              was       subjected             to great         physical       pain      and     mental          anguish.


                         42.   The      aforesaid           occurrence               was      caus-d       by        the    negligence            of the      defend=.nts,            without         any
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                         culpable           conduct              on     the     part       of Thalia             Lardoutsos.


                   43.   By      reason       of the          foregoing,               Thalia           Lardoutsos                 was        severely             injured         and      damaged,              sustained


                         severe         nervous            shock          and        mental            anguish,           great        physical             pain      and        emotional             upset,       some          of


                         which          injuries           are believed                to be permañcat                         in nature           and       duration,            and      Thalia        Lardoutscs


                         will     be permanently                       caused          to suffer              pain,      inconvenience                      and      other        effects         of such         injuries;


                         Thalia         Lardout=s                 incurred             and         in the       future         will      necessarily                incur        further         hospital         and/or


                         medical          expenses               in an effort                to be cured                of said          injuries;          and      Thalia         Lardoutsos               will      be


                         unable         to pursue             Thalia            Lardoutsos's                   usual      duties          with       the     same         degree           of efficiency              as


                         prior      to this        accident,             all     to Thalia              Lardoutsos's                  great       damage.


                   44.   As      a result        of the          foregoing,                plaintiff           has     become             sick,      sore,         lame      and      disabled,             has


                         sustained           severe          and        serious            injuries,            has     suffered           and       will     condñüe              to suffer            severe        mental


                         and      nervous           shock          with         accompañying                      pain,         has      required           medical              treatment          and      was       and


                         will     be unable                to attend            to her        usual           duties      for      a long         period           of time;         was       obliged           to and        did


                         expend          large       sums          of money                 for     medical             care       and     attention           and        will     be required               to expend


                         additional           sums           of money                for     madical             care         in the      future       to attend             to her        injuries         which          she


                         believes          to be of           a permanent                    nature.


                   45.   As      a result        of the          foregoing             negligence                 of the         defend=e,                   the     plaintiff          has      expended             and


                         become           chligated              for      the     sums            of money              for     medical           care       and      etention             for    the     plaintiff          in


                         an effort          to cure          her       of her        injuries            and      to alleviate              her      pain      and                               was     ca=ad          to
                                                                                                                                                                          suffering;


                         incur      damages.


                   46.   This      action          falls     within            one     or more                of the      exceptions               set forth           in Section                1602       of the     Civil


                         Practice          Law        and        Rules.

                                         defendants'
                   47.   Due       to                                 negligence,                 plaintiff           is entitled          to damages.


                                                 WHEREFORE,                                the      plaintiff           demands            judgment                 awarding             damages,            in an


                   amount         exceeding                the     moñctaiy                jurisdictional                 limits         of all      lower          courts         which         would          otherwise




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     & FRAAA LLP


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                   have     jurisdiction,             together    with    interest    and       the   costs    and      disbursements             o           ____,   d such


                   other     and      further     relief     as to this    Court     seems        just   and    proper.




                   Dated:         Astoria,      New        York                                                                              \.

                                  July       10, 2020




                                                                                                              By:     Tonin            acco,      E       .   ×

                                                                                                              SACCO                FILLAS,            LLP
                                                                                                              Attorne         s for    Plaintiff(s)
                                                                                                              31-19           ewtown       Ave
                                                                                                              Seve       th Floor
                                                                                                              Asto            Ne          ork     11102

                                                                                                              (718)      746-3440
                                                                                                              Our     File    # 24230-20




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                     SUPREME                 COURT             OF THE             STATE          OF NEW YORK
                     COUNTY               OF QUEENS

                                                                                                                                 INDEX      NO.:
                     THALIA               LARDOUTSOS


                                                                                 Plaintiff(s),                                   INDIVIDUAX..
                                                                                                                                 VERIFIÇATKON
                                                 -against-


                     LOWE'S               HOME          IMPROVEMENT                         AND       LOWE'S       HOME
                     CENTERS,                LLC


                                                                                 Defendant(s).




                  STATE        OF NEW YORK
                  COUNTY             OF QUEENS



                              Thalia         Lardonnes,                 sworn,      deposes      and    says:


                              That        1 am the          plaintiff          in the within      action.


                              I have         read     the  foregaing  SUMMONS       AND VERIFIED                                 COMPLAINT            and   know    the
                  contents         thereof        and   the same is true to the best of my knowledge,                             except    as to those      matters
                  herein     stated       to be alleged                 upon     information          and belief   and that   as to those       matters,    I believe
                  them     to be true.




                                                                                                                        Thalia     Lardoutsos
                  Sworn       to before_methis


                             day     of


                                             !




                                        Yamifett C. Pemett
                           Commissioner    of Deeds,
                                                      City of New York
                                           No. 4-10170
                                 Cert. Filed in Queens
                             Commission                   County
                                          Expires Navamber 1,
                                                                 2020




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               SUPJtEME             GOURT         OF THE           STATE         OF NEW               YORK
               COUNTY           OF QUEENS
                                                                                                                            Index        No.:




               THALIA          LARDOUTSOS


                                                                Plaintiff(s),

                                     -against-


               LOWE'S         HOME         IMPROVEMENT                       AND        LOWE'S               HOME           CENTERS,                   LLC


                                                                Defendant(s).




                                                              SUMMONS                   and      VERIFIED                   GOMPLAINT




               Parsuant       to 22    NYCRR            130-1.1,      the    undersigned,              an attorney             a            ed t        prac    ce in     e courts
               of New        York     State,     certifies    that,   upon        information               and    belief           d re           nabl        nqui     , the
               contentions          contaiñêd        in the   annexed           documents             are noffrivolo                s.


                Dated:       Queens,       NY
                             July     10, 2020

                                                                                                      Signature:
                                                                                                      By:     Tonino                cco,        Esq.




                                                                        SACCO               &   FILLAS,               LP
                                                                            Attorneys           for   Plaintiff(s)
                                                                                 Thalia         Lardoutsos
                                                                            31-19       Newtown              Avenue
                                                                                      Seventh         Floor

                                                                         Astoria,         New         York        11102

                                                                                    (718)       746-3440
                                                                                Our     File     # 24230-20




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     Form 27 - AFFIDAVIT OF SERVICE
                                                                                                                    P3494341

           SACCO & FILLAS, LLP    REGINA M. SZMUC
     SUPREME COURT QUEENS COUNTY STATE OF NEW YORK
     THALIA LARDOUTSOS                                                                                    index No. 710351/2020
                                                                                           PLAINTIFF      Date Filed
                                                      - vs -                                              Office No. 24230-20
     LOWE'S HOME IMPROVEMENT, ETANO                                                                       Court Date.
                                                                                           DEFENDANT
               STATE OF NEW YORK,             COUNTY OF NASSAU                :SS:
     CHARLES SPANO            being duly sworn, deposes and says; I am over                    18 years of age, not a party to
     this action,           and reside in the State of New York. That on the                     23RD day of JULY, 2020 11:05AM
     at
               700 DIBBLEE DRIVE
               GARDEN CITY NY 11530
     I served   true copy of the SUMMONS AND VERIFIED COMPLAINT upon LOWE'S HOME
                    a                                                                                        IMPROVEMENT the
     DEFENDANT therein named by delivering to, and leaving personally with CHRIS                             OBANYA, MANAGER
     AUTHORIZED TO ACEPT a true copy of each thereof .

     Deponent describes the person served as                         aforesaid to the best of deponent's     ability    at the time
     and circumstances             of the service          as   follows:
     SEX: MALE          COLOR: BLACK HAIR: BALD
     APP.AGE: 53 APP. HT: 5'8 APP. WT: 190
     OTHER IDENTIFYING FEATURES
     GLASSES



      Sworn    to before          me   this
     .24T       y   o   L   ULY, 2020

                                                                         CHARLES SPANO
          .
                                                                         PM Legal, LLC
     TI -  1  OMPSON                                                     75 MAIDEN LANE 11TH FLOOR
     Notary Public, State of                  New   York                NEW YORK,        NY 10038
     NO.      01TH6368449                                                Reference No: 3-SFLLP-3494341
     Qualified in           KINGS COUNTY
     Commission Expires 12/11/2021




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           SACCO & FILLAS, LLP    REGINA M. SZMUC
     SUPREME COURT QUEENS COUNTY STATE OF NEW YORK
     THALIA LARDOUTSOS                                                                        index No. 710351/2020
                                                                               PLAINTIFF      Date Filed
                                                  - vs -                                      Office No. 24230-20
     LOWE'S HOME IMPROVEMENT, ETANO                                                           Court Date.
                                                                               DEFENDANT
             STATE OF NEW YORK,           COUNTY OF NASSAU        :SS:
    CHARLES SPANO         being duly sworn, deposes and says; I am over            18 years of age, not a party to
    this action,        and reside in the State of New York. That on the             23RD day of JULY, 2020 11:05AM
    at
             700 DIBBLEE DRIVE
             GARDEN     CITY NY 11530
     I served  true copy of the SUMMONS AND VERIFIED COMPLAINT upon LOWES'S HOME CENTERS, LLC the
                a
    DEFENDANT therein named by delivering to, and leaving personally with CHRIS OBANYA, MANAGER
    AUTHORIZED TO ACCEPT a true copy of each thereof .

    Deponent describes the person served as aforesaid                  to the best of deponent's ability at the time
    and circumstances of the service as follows:
    SEX: MALE   COLOR: BLACK HAIR: BALD
     APP.AGE: 53 APP. HT: 5'8 APP. WT: 190
     OTHER IDENTIFYING FEATURES
     GLASSES


     Sworn   to before        me   this
     24TH day       f   JULY, 2020
                                                             CHARLES SPANO
                                                             PM   Legal,     LLC
                HOMPSON                                      75 MAIDEN LANE 11TH FLOOR
     Notary Public, State of              New   York         NEW YORK, NY 10038
     NO.   OlTH6368449                                       Reference No: 3-SFLLP-3494366
     Qualified in        KINGS COUNTY
     Commission Expires 12/11/2021




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                             Sacco     &   Fillas,   IlP
                             Attorneys        at Law

                                                                        91         7199             9991            7039            8817           5639

  31-19 Newtown               Avenue
                                                     August              24,       2020
  Seventh          Floor

  Astoria,         NY      11102
                                                     Lowe's              Home             Improvement

                                                     700         Dibblee             Drive
  Tel:     718 746-3440
                                                     Garden              City,           NY        11530
  Direct:      718 269-2231
  Direct       Fax:      718 425-9931
                                                     Re:                 Lardoutsos                 v. Lowe's             Home           Improvement

  rszmuc@saccofillas.com                                                 Index           No.:       710351/2020

  www.saccofillas.com                                                    Date        of       incident:           May       30,     2020

                                                                         File       # 24230-20
  Tonino       Sacco

                                                     Dear          Lowe's                Home           Improvement:
    t gi       r    1 l narte

   1.arnont        K. Rodgers                        Please             be advised                 that    this    office         represents            Thalia        Lardoutsos            for     injuries          sustained

                                                     in an accident                       at 700          Dibblee           Dr,     Garden            City,      NY       on    May      30,      2020.

  Joanne       Ciaramella
  Joseph       Katz
                                                     As         you      are       aware,           your       Corporation               was      served           with        a summons            and      complaint

    iÎlÎa                                            on         July      23,      2020.           Copies         of the          Summons,              Verified           Complaint           and        Affidavit         of
   ames R. Bae                                       Service                are     enclosed.
  Ronald B. Groman
  Elliot L l.cwis
                                                     Your              last       date        to    answer          was       August                    2020.
  Zachary S. Kaplan                                                                                                                             20,
  Steven Ilofrman
  Dana M. Whitfield
  Eric S. Cantor                                     No extension                        of     time       to answer              has    ever     been        requested           nor    has       any     answer          been
  Roman crutman                                      served             on        your        behalf.       You      are      now        very      seriously              in default       answering.                 If this
  James A. WolfT
                                                     Office            does        not        ACTUALLY                     RECEIVE                an answer               on    your     behalf,          WHETHER
  Angel R. Vitiello
  Michael S. Warvcha                                 BY          MAIL,              FAX            OR PERSONAL                          DELIVERY,                  NO LATER                THAN
  Evan R. 1,ertow                                    SEPTEMBER                                                     a motion             for     a judgment                     default     will      be made
                                                                                              21,      2020,                                                              by                                             and,

          Beirl tein
                                                     ONCE                SERVED,                    WILL          NOT BE WITHDRAWN                                        UNDER           ANY
   Christopher    P. DelCioppio                      CIRCUMSTANCES                                         - NOT        EVEN             THE       RECEIPT                 OF AN          ANSWER
   Elizabeth A. Athenas                              THEREAFTER.                                   A DEFAULT                  JUDGMENT                        MAY          BE ENFORCEABLE

                                   n                 AGAINST                       YOUR                PERSONAL                    ASSETS.              YOU         ARE         URGED             TO SEE              TO    IT
   Ilariharan   Krishnaraj                           THAT                YOUR              INSURANCE                        COMPANY                     FULLY              PROTECTS                YOUR           RIGHTS!
   Cindy    Simms

    Also admined in New Jersey                       Thank              you        for    your          courtesy        and        cooperation.
     Admitted in New Jersey only

                                                     Very          Truly            Yours,
                                                     Sacco              &     F.illas         LLP
  Additional            Offices:


  Bayside                                                  y:    Regina             M.        Szmuc,               ralegal
  4240      Bell Boulevard                           Enclosures
  Suite     301
  Bayside.         NY      11361
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           SACCO & FILLAS, LLP    REGINA M. SZMUC
     SUPREME COURT QUEENS COUNTY STATE OF NEW YORK
     THALIA LARDOUTSOS                                                                                    index No. 710351/2020
                                                                                           PLAINTIFF      Date Filed
                                                      - vs -                                              Office No. 24230-20
     LOWE'S HOME IMPROVEMENT, ETANO                                                                       Court Date.
                                                                                           DEFENDANT
               STATE OF NEW YORK,             COUNTY OF NASSAU                :SS:
     CHARLES SPANO            being duly sworn, deposes and says; I am over                    18 years of age, not a party to
     this action,           and reside in the State of New York. That on the                     23RD day of JULY, 2020 11:05AM
     at
               700 DIBBLEE DRIVE
               GARDEN CITY NY 11530
     I served   true copy of the SUMMONS AND VERIFIED COMPLAINT upon LOWE'S HOME
                    a                                                                                        IMPROVEMENT the
     DEFENDANT therein named by delivering to, and leaving personally with CHRIS                             OBANYA, MANAGER
     AUTHORIZED TO ACEPT a true copy of each thereof .

     Deponent describes the person served as                         aforesaid to the best of deponent's     ability    at the time
     and circumstances             of the service          as   follows:
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     OTHER IDENTIFYING FEATURES
     GLASSES



      Sworn    to before          me   this
     .24T       y   o   L   ULY, 2020

                                                                         CHARLES SPANO
          .
                                                                         PM Legal, LLC
     TI -  1  OMPSON                                                     75 MAIDEN LANE 11TH FLOOR
     Notary Public, State of                  New   York                NEW YORK,        NY 10038
     NO.      01TH6368449                                                Reference No: 3-SFLLP-3494341
     Qualified in           KINGS COUNTY
     Commission Expires 12/11/2021




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                   SUPREME                COURT           OF THE                STATE          OF NEW            YORK                                     Filed:
                   COUNTY               OF QUEENS
                                                                                                                                                          Index          No.:


                   THALIA             LARDOUTSOS                                                                                                          Plaintiff             designates
                                                                                                                                                          QUEENS                  County            as the
                                                                               Plaintiff(s),                                                              place          of trial.


                                          -against-
                                                                                                                                                          S     U   M M O N                   S


                   LOWE'S               HOME             IMPROVEMENT                               AND           LOWE'S
                                                                                                                                       HOMEThe                      basis         of venue            is
                   CENTERS,               LLC
                                                                                                                                                          Plaintiffs              residence:
                                                                                                                                                          20-32          Utopia             Parkway
                                                                               Defendant(s).

                                                                                                                                                          Whitestone,                    NY       11357



                                                                                To     the     above       named        Defendants:


                                YOU ARE               HEREBY                   SUMMONED                     to answer          the    complaint                  in this         action        and        to


                   serve     a copy       of your        añswcr           on the plaintiffs                attorneys         within      20 days                after      the       service         of    this


                   su-ens,             exclusive         of the          day     of service        of this       summons,             or within            30 days               after      service            of


                   this    summons            is complete           if this          summons            is not   personally           delivered               to you            within        the     State         of


                   New       York.


                                In case       of your          failure         to answer         this     summo          , a jud               ent    b         default          w    (1 be taken


                   against      you     for    the    relief      demanded               in the     complaint,                 e      er wi           the        costs               this    action.


                   Dated:      Astoria,         New      York

                                July      10, 2020




                                                                                                                       By:     Tonino            Sacco,             Es      .
                                                                                                                       SACCO             &      FIL                         LP
                                                                                                                       Attomeys            f              aint            s)
                                                                                                                       31-             ewtown                       enue
                                                                                                                       Seventh          Floor

                                                                                                                       Astoria,        New                ork       11102

                                                                                                                       (718)       746-3              0
                                                                                                                       Our     File     # 24230-20
                   DEFENDANTS:


                   Lowe's       Home          Improvement
                   700      Dibblee       Drive
                   Oarden       City,      NY        11530




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     & FB1AS LIP


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                     Lowe's    Home      Centers,      LLC
                     700   Dibblee     Drive
                     Garden    City,   NY      11530




                     FORWARD           THIS     IMMEDIATELY   TO   YOUR   ATTORNEY   OR INSURANCE     COMPANY




 IACCO& FRIAS, LLP


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                       SUPREME              COURT               OF THE             STATE            OF NEW           YORK
                       COUNTY             OF QUEENS                                                                                                        Index           No.:


                                                                                                                                                           VERIFIED                       COMPLAINT
                       THALIA            LARDOUTSOS


                                                                                  Plaintiff(s),

                                                -against-



                       LOWE'S              HOME                 IMPROVEMENT                               AND         LOWE'S                  HOME
                       CENTERS,                LLC


                                                                                  Defendant(s).




                                   Plaintift           by   her      attorneys,           SACCO             &     FILLAS,            LLP,       as and         for    her      Verified


                       Complent,           respectfully              alleges,         upon        information            and      belief:


                       1.   The      plaintiff,         Thalia        Lardoutsos,                at all   times     herein         mentioned            was         and     still     is a resident               of


                            the County               of Queens              and    the    State      of New        York.


                       2.   The      defêñdant,             Lowe's           Home         Improvement,              at all     times         herein      motioned,                  was   and       still     is a


                            domestic              limited       liability         company           arganized         and      existing         under         the    laws           of the    State         of


                            New         York,        with      its principal             place     of business            sitüãted          in the     County         of Nassau               and      the


                            State       of New          York.


                       3.   The      defendant,             Lowe's           Home         Improvement,              at all     times         herein      mentioned                  conducted               and


                            carried        on business              in the        County          of Nassau         and     the      State     of New           York.


                       4.   At    all    times        herein       mentioned,              defêñdant            Lowe's       Home           Improvement                   transacted           bu-iness


                            within        the      State    of New            York.


                   .   5.   At    all    times        herein       mentioñed,              defendant            Lowe's       Home           Improvement                   derived         substantial


                            revenue         from        goods         used        or censumed             or services           rendered             in the     State       of New            York.


                       6.   At    all    times        herein       mentioned,              defedet              Lowe's         Home         Improvement                   expected           or should


                            reasonably              have       expected           its acts        to have       ccñseqücñces                 in the     State        of New           York,


                       7.   At    all    times        herein       mendonad,               defendant            Lowe's         Home         Improvement                   derived         ea=ª==dal




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     & FRAAA U.P


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                          revenue        from      interstate        or intemational          commerce.


                     8.   At    all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement               owned           the


                          premises        located         at 700     Dibblee       Drive,     County          of Nassau,          State     of New          York.


                     9.   At    all   times     herein      mentionad,           the   defendant        Lowe's         Home        Improvement               was      one      of the


                          owners        of the     premises          located     at 700     Dibblee          Drive,      County         of Nassau,          State      of New


                          York.


                     10. At     all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement               was      a lessee          of


                          the     premises       leated           at 700   Dibblee       Drive,     County            of Nassau,          State    of New           York.


                     11. At     all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement,               defendant's


                          servants,       agents         and/or     employees          operated       the     premises        located        at 700        Dibblee          Drive,


                          County        of Nassau,          State     of New       York.


                     12. At     all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement,               defendat's


                          servants,       agents      and/or        employees          mainkined            the    premises        located         at 700     Dibblee           Drive,


                          County        of Nassau,          State     of New       York.


                     13. At     all   times     herein      m-tianed,            the   defendant        Lowe's         Home        Improvement,               defendant's


                          servants,       agents         and/or     employees          managed         the    premises         located        at 700       Dibblee           Drive,


                          County        of Nassau,          State     of New       York.


                     14. At     all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement,               defendant's


                          servants,       agents         and/or     employees          controlled       the       premises        located         at 700     Dibblee          Drive,


                          County        of Nassau,          State     of New       York.


                     15. At     all   times     herein      menticñêd,           the   defendant        Lowe's         Home        Improvement,               defendant's


                          servants,       agents         and/or     employees          supervised           the   premises        located         at 700      Dibblee          Drive,


                          County        of Nassau,          State     of New       York.


                     16. On or before            May        30,    2020,   the    defendant         Lowe's         Home       Improvement,                 defendant's


                          servants,       agents         and/or      empicyees         repaired       the    premises         located        at 700    Dibblee              Drive,




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                         County         of Nassau,             State       of New           York.


                   17. On        or before          May       30,       2020,      the    defendant          Lowe's           Home         Improvement,                  defendant's


                         servants,           agents       and/or         employees            inspected          the     premises           located         at 700        Dibblee         Drive,


                         County         of Nassau,             State       of New           York.


                   18. On        or before          May       30,       2020,      the    defendant          Lowe's           Home         Improvement,                  defendant's


                         servants,           agents       and/or         employees            constructed              the    premises           located         at 700      Dibblee         Drive,


                         County         of Nassau,             State       of New           York.


                   19. On        or before          May       30,       2020,      the    defendent          Lowe's           Home         Improvement,                  defendant's


                         servants,           agents      and/or          employees            designed           the    premises           located         at 700        Dibblee       Drive,


                         County         of    Nassau,          State       of New           York.


                   20.   At    all    times      herein        mentioned,                it was     the   duty      of the        defendant           Lowe's         Home          Improvement,


                         defendant's            servants,           agents         and/or      employees               to maintic            said     premises            !ecated      at 700


                         Dibblee         Drive,         County           of Nassau,           State       of New         York,        in a reasonably               safe      and    suitable


                         condition            and      in good          repair.


                   21.   The      defendãñt,            Lowe's           Home        Centers,         LLC,       at all       times       herein      motioned,             was     and      still        is a


                         domestic            limited        liability        company           organized           and       existing        under         the    laws     of the      State         of


                         New         York,      with      its principal             place      of busincss             situated         in the      County         of Ï4assau          and      the


                         State       of New         York.


                   22.   The      defendant,            Lowe's           Home        Centers,         LLC,       at all       times       herein      mendoned              conducted                and


                         carried        on business             in the       County          of Nassau           and     the      State     of New          York.


                   23.   At    all    times      herein        metioned,                 defendant         Lowe's            Home       Centers,          LLC       estad               business


                         within        the    State      of New            York.


                   24.   At    all    times      herein        mentioned,                defendant         Lowe's            Home       Centers,          LLC       derived         substantial


                         revenue         from         goods       used       or consumed              or services             rendered           in the     State        of New        York.


                   25.   At    all    times      herein        mêñdened,                 defendant         Lowe's            Home       Centers,          LLC       expected          or should




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                          reasonably          have       expected          its acts    to have         consequences              in the     State      of New           York.


                    26.   At    all   times     herein      mentioned,           defendant             Lowe's         Home       Centers,        LLC      derived          substantial


                          revenue        from      interstate        or international              commerce.


                    27.   At    all times       herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC      owned           the


                          premises        located         at 700     Dibblee          Drive,      County          of Nassau,          State     of New          York.


                    28.   At    all times       herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC      was       one     of the


                          owners        of the     premises          located      at 700        Dibblee         Drive,       County         of Nassau,          State      of New


                          York.


                    29.   At    all   times     herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC      was       a lessee         of


                          the     premises       located          at 700     Dibblee          Drive,     County          of Nasseu,           State    of New           York.


                    30.   At    all   times     herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC,      defendant's


                          servants,       agents         and/or     employees            operated         the     premises        located        at 700        Dibblee          Drive,


                          County        of Nassau,          State     of New          York.


                    31.   At    all   times     herein      mentioned,           the    defendent          Lowe's         Home         Centers,         LLC,      defendant's


                          servants,       agents         and/or     employees            maintained             the    premises        located         at 700     Dibblee          Drive,


                          County        of Nassau,          State     of New          York.


                    32.   At    all   times     herein      mendenad,            the    defendant          Lowe's         Home         Centers,         LLC,      defendant's


                          servants,       agents         and/or     employees            managed          the     premises         located        at 700       Dibblee          Drive,


                          County        of Nassau,          State     of New          York.


                    33.   At    all   times     herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC,      defendant's


                          servants,       agents         and/or     cmployees            controlled         the       premises        located         at 700     Dibblee          Drive,


                          County        of Nassau,          State     of New          York.


                    34.   At    all   times     herein                           the    dera-1-*           Lowe's         Home                                    defendant's
                                                            mentioñêd,                                                                 Centers,         LLC,


                          servants,       agents         and/or     employees            supervised         the       premises        located         at 700      Dibblee          Drive,


                          County        of Nassau,          State     of New          York.




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                         35.   On or before                May     30,       2020,      the     defendant                 Lowe's        Home       Centers,           LLC,      defendants


                               servants,         agents       and/or          employees             repaired               the premises            located         at 700      Dibblee          Drive,


                               County          of Nassau,             State        of New        York.


                         36.   On or before                May     30,       2020,      the     defendant                 Lowe's        Home       Centers,           LLC,      defendant's


                               servants,         agents       and/or          employees             inspactad               the     premises        located           at 700    Dibblee           Drive,             .


                               County          of Nassau,             State        of New        York.


                         37.   On or before                May     30,       2020,      the     defendant                 Lowe's        Home       Centers,           LLC,      defendant's


                               servants,         agents         and/or        employees             constructed                   the   premises          located       at 700       Dibblee          Drive,


                               County          of Nassau,             State        of New        York.


                         38.   On or before                May     30,       2020,      the     defendant                 Lowe's        Home       Centers,           LLC,      defendant's


                               servants,         agents         and/or        employees             designed                the    premises        located          at 700      Dibblee           Drive,


                               County          of Nassau,             State        of New        York.


                         39.   At     all    times     herein         mentioned,              it was      the        duty      of the        def-ndant        Lowe's           Home       Centers,          LLC,


                               defendant's             servants,            agents      and/or          cmployees                 to ment-½          said      p=nises           located          at 700


                               Dibblee          Drive,       County           of Nassau,            State           of New          York,      in a reasonably               safe     and    suitable


                               condition             and    in good          repair.


                         40.   That         on or about          May         30,     2020,      while          the    plaintiff,         Thalia      Lardoutsos,               was     lawfully          upon


                               the     defendant's           premises              located        at 700        Dibblee             Drive,      County         of Nassau,            State      of New


                               York,         when      she      was      caused         to fall     by     a dangerous,                  hazardous           and      unsafe        condition         of the


                               curb         in the parking            lot     located         in front         of the        subject         premises,        causing          her    to sustain


                               grievous          personal          injuries          with      attendant             special        damage.

                                                                               defendants'
                         41.   Solely         as a result        of the                                 negligence,                carelessness            and      recklessness,            Thalia


                               Lardcutsos             was     caused           to suffer         severe         and        serious       personal          injuries      to mind          and      body,       and


                               further,        that    Thalia         Lardoutsos              was       subjected             to great         physical       pain      and     mental          anguish.


                         42.   The      aforesaid           occurrence               was      caus-d       by        the    negligence            of the      defend=.nts,            without         any
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                         culpable           conduct              on     the     part       of Thalia             Lardoutsos.


                   43.   By      reason       of the          foregoing,               Thalia           Lardoutsos                 was        severely             injured         and      damaged,              sustained


                         severe         nervous            shock          and        mental            anguish,           great        physical             pain      and        emotional             upset,       some          of


                         which          injuries           are believed                to be permañcat                         in nature           and       duration,            and      Thalia        Lardoutscs


                         will     be permanently                       caused          to suffer              pain,      inconvenience                      and      other        effects         of such         injuries;


                         Thalia         Lardout=s                 incurred             and         in the       future         will      necessarily                incur        further         hospital         and/or


                         medical          expenses               in an effort                to be cured                of said          injuries;          and      Thalia         Lardoutsos               will      be


                         unable         to pursue             Thalia            Lardoutsos's                   usual      duties          with       the     same         degree           of efficiency              as


                         prior      to this        accident,             all     to Thalia              Lardoutsos's                  great       damage.


                   44.   As      a result        of the          foregoing,                plaintiff           has     become             sick,      sore,         lame      and      disabled,             has


                         sustained           severe          and        serious            injuries,            has     suffered           and       will     condñüe              to suffer            severe        mental


                         and      nervous           shock          with         accompañying                      pain,         has      required           medical              treatment          and      was       and


                         will     be unable                to attend            to her        usual           duties      for      a long         period           of time;         was       obliged           to and        did


                         expend          large       sums          of money                 for     medical             care       and     attention           and        will     be required               to expend


                         additional           sums           of money                for     madical             care         in the      future       to attend             to her        injuries         which          she


                         believes          to be of           a permanent                    nature.


                   45.   As      a result        of the          foregoing             negligence                 of the         defend=e,                   the     plaintiff          has      expended             and


                         become           chligated              for      the     sums            of money              for     medical           care       and      etention             for    the     plaintiff          in


                         an effort          to cure          her       of her        injuries            and      to alleviate              her      pain      and                               was     ca=ad          to
                                                                                                                                                                          suffering;


                         incur      damages.


                   46.   This      action          falls     within            one     or more                of the      exceptions               set forth           in Section                1602       of the     Civil


                         Practice          Law        and        Rules.

                                         defendants'
                   47.   Due       to                                 negligence,                 plaintiff           is entitled          to damages.


                                                 WHEREFORE,                                the      plaintiff           demands            judgment                 awarding             damages,            in an


                   amount         exceeding                the     moñctaiy                jurisdictional                 limits         of all      lower          courts         which         would          otherwise




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                   have     jurisdiction,             together    with    interest    and       the   costs    and      disbursements             o           ____,   d such


                   other     and      further     relief     as to this    Court     seems        just   and    proper.




                   Dated:         Astoria,      New        York                                                                              \.

                                  July       10, 2020




                                                                                                              By:     Tonin            acco,      E       .   ×

                                                                                                              SACCO                FILLAS,            LLP
                                                                                                              Attorne         s for    Plaintiff(s)
                                                                                                              31-19           ewtown       Ave
                                                                                                              Seve       th Floor
                                                                                                              Asto            Ne          ork     11102

                                                                                                              (718)      746-3440
                                                                                                              Our     File    # 24230-20




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                     SUPREME                 COURT             OF THE             STATE          OF NEW YORK
                     COUNTY               OF QUEENS

                                                                                                                                 INDEX      NO.:
                     THALIA               LARDOUTSOS


                                                                                 Plaintiff(s),                                   INDIVIDUAX..
                                                                                                                                 VERIFIÇATKON
                                                 -against-


                     LOWE'S               HOME          IMPROVEMENT                         AND       LOWE'S       HOME
                     CENTERS,                LLC


                                                                                 Defendant(s).




                  STATE        OF NEW YORK
                  COUNTY             OF QUEENS



                              Thalia         Lardonnes,                 sworn,      deposes      and    says:


                              That        1 am the          plaintiff          in the within      action.


                              I have         read     the  foregaing  SUMMONS       AND VERIFIED                                 COMPLAINT            and   know    the
                  contents         thereof        and   the same is true to the best of my knowledge,                             except    as to those      matters
                  herein     stated       to be alleged                 upon     information          and belief   and that   as to those       matters,    I believe
                  them     to be true.




                                                                                                                        Thalia     Lardoutsos
                  Sworn       to before_methis


                             day     of


                                             !




                                        Yamifett C. Pemett
                           Commissioner    of Deeds,
                                                      City of New York
                                           No. 4-10170
                                 Cert. Filed in Queens
                             Commission                   County
                                          Expires Navamber 1,
                                                                 2020




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               SUPJtEME             GOURT         OF THE           STATE         OF NEW               YORK
               COUNTY           OF QUEENS
                                                                                                                            Index        No.:




               THALIA          LARDOUTSOS


                                                                Plaintiff(s),

                                     -against-


               LOWE'S         HOME         IMPROVEMENT                       AND        LOWE'S               HOME           CENTERS,                   LLC


                                                                Defendant(s).




                                                              SUMMONS                   and      VERIFIED                   GOMPLAINT




               Parsuant       to 22    NYCRR            130-1.1,      the    undersigned,              an attorney             a            ed t        prac    ce in     e courts
               of New        York     State,     certifies    that,   upon        information               and    belief           d re           nabl        nqui     , the
               contentions          contaiñêd        in the   annexed           documents             are noffrivolo                s.


                Dated:       Queens,       NY
                             July     10, 2020

                                                                                                      Signature:
                                                                                                      By:     Tonino                cco,        Esq.




                                                                        SACCO               &   FILLAS,               LP
                                                                            Attorneys           for   Plaintiff(s)
                                                                                 Thalia         Lardoutsos
                                                                            31-19       Newtown              Avenue
                                                                                      Seventh         Floor

                                                                         Astoria,         New         York        11102

                                                                                    (718)       746-3440
                                                                                Our     File     # 24230-20




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                             Sacco         &   Fillas,   LI     P
                             Attorneys            at I aw

                                                                                 91          7199              9991            7039             8817            5646
   31-19 Newtown                  Avenue
   Seventh         Floor
                                                         August          24,     2020
   Astoria,        NY     11102


                                                         Lowe's          Home              Centers,            LLC
   Tel:     718 746-3440
   Direct:        718 269-2231                           700      Dibblee             Drive

   Direct      Fax: 718 425-9931                         Garden          City,         NY         11530


   rszmuc@saccofillas.com                                Re:            Lardoutsos                  v. Lowe's               Home           Improvement
   www.saccofillas.com                                                  Index           No.:        710351/2020
                                                                        Date          of     incident:            May         30,     2020
   Tonino      Sacco
                                                                        File      # 24230-20
   Elias N. Fillas
   Luigi Brandimarte
                                                         Dear        Lowe's            Home            Improvement:
   Lamont      K. Rodgers
    Albert R. Matuza, Ir
    U. William                                           Please        be advised                 that     this      office         represents            Thalia        Lardoutsos             for     injuries          sustained
                  sung
   Joanne ciaramella                                     in an accident                    at 700         Dibblee             Dr,     Garden            City,      NY       on    May       30,      2020.
   Joseph Katz
   Patricia R. Lynch
   Richard Schirmer                                      As     you      are     aware,             your       Corporation                 was      served           with        a summons             and      complaint
   James R. Baez                                         on July                 2020.            Copies          of the                                  Verified           Complaint            and        Affidavit         of
                                                                         23,                                                        Summons,
   Ronald B. Groman
   Elliot L. Lewis                                       Service          are     enclosed.

   Zachary S. Kaplan
   stmn      nomna"
                                                         Your         last      date         to     answer            was       August            20,     2020.
   Dana M. Whitfield
   Eric S. cantor
   Roman Grutman                                         No extension                   of     time        to answer                has   ever     been         requested            nor    has               answer          been
                                                                                                                                                                                                      any
                                                         served         on      your         behalf.           You     are      now        very        seriously            in default        answering.                 If this
           .       o
   Michael S. Warycha                                    office        does      not         ACTUALLY                       RECEIVE                an answer                on    your      behalf,          WHETHER
   Evan R. Leytow                                        BY                       FAX             OR PERSONAL                                                        NO LATER                  THAN
                                                                  MAIL,                                                                   DELIVERY,
                                                         SEPTEMBER                            21,      2020,         a motion             for    a judgment                 by    default     will      be made             and,
   Christopher   P. DelCioppio                           ONCE           SERVED,                     WILL          NOT          BE WITHDRAWN                                 UNDER            ANY
   Elizabeth A. Athenas                                                                                    -
                                                         CIRCUMSTANCES                                         NOT       EVEN              THE          RECEIPT                  OF AN       ANSWER
   Alexander   Berger
   David E. Silverman                                    THEREAFTER.                              A DEFAULT                     JUDGMENT                        MAY          BE ENFORCEABLE
   Hariharan   Krishnaraj                                AGAINST                 YOUR                 PERSONAL                       ASSETS.              YOU          ARE         URGED             TO       SEE        TO    IT
   Cindy Simms                                                                                                                COMPANY                                                                 YOUR
                                                         THAT           YOUR                INSURANCE                                                     FULLY              PROTECTS                                    RIGHTS!
    Also admiued in New Jersev
     Admined in New Jersev only                          Thank                                                                        cooperation.
                                                                        you      for       your          courtesy           and



                                                         Very         Truly       Yours,
  Additional           Offices:                                cco     &      F.illas         LLP


  Bayside
  4240    Ben Boulevard                                  By:        Regina        M.         Szmuc,            Paralegal
  Suite     301
                                                         Enclosures
  Bayside,        NY     11361
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           SACCO & FILLAS, LLP    REGINA M. SZMUC
     SUPREME COURT QUEENS COUNTY STATE OF NEW YORK
     THALIA LARDOUTSOS                                                                        index No. 710351/2020
                                                                               PLAINTIFF      Date Filed
                                                  - vs -                                      Office No. 24230-20
     LOWE'S HOME IMPROVEMENT, ETANO                                                           Court Date.
                                                                               DEFENDANT
             STATE OF NEW YORK,           COUNTY OF NASSAU        :SS:
    CHARLES SPANO         being duly sworn, deposes and says; I am over            18 years of age, not a party to
    this action,        and reside in the State of New York. That on the             23RD day of JULY, 2020 11:05AM
    at
             700 DIBBLEE DRIVE
             GARDEN     CITY NY 11530
     I served  true copy of the SUMMONS AND VERIFIED COMPLAINT upon LOWES'S HOME CENTERS, LLC the
                a
    DEFENDANT therein named by delivering to, and leaving personally with CHRIS OBANYA, MANAGER
    AUTHORIZED TO ACCEPT a true copy of each thereof .

    Deponent describes the person served as aforesaid                  to the best of deponent's ability at the time
    and circumstances of the service as follows:
    SEX: MALE   COLOR: BLACK HAIR: BALD
     APP.AGE: 53 APP. HT: 5'8 APP. WT: 190
     OTHER IDENTIFYING FEATURES
     GLASSES


     Sworn   to before        me   this
     24TH day       f   JULY, 2020
                                                             CHARLES SPANO
                                                             PM   Legal,     LLC
                HOMPSON                                      75 MAIDEN LANE 11TH FLOOR
     Notary Public, State of              New   York         NEW YORK, NY 10038
     NO.   OlTH6368449                                       Reference No: 3-SFLLP-3494366
     Qualified in        KINGS COUNTY
     Commission Expires 12/11/2021




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                   SUPREME                COURT           OF THE                STATE          OF NEW            YORK                                     Filed:
                   COUNTY               OF QUEENS
                                                                                                                                                          Index          No.:


                   THALIA             LARDOUTSOS                                                                                                          Plaintiff             designates
                                                                                                                                                          QUEENS                  County            as the
                                                                               Plaintiff(s),                                                              place          of trial.


                                          -against-
                                                                                                                                                          S     U   M M O N                   S


                   LOWE'S               HOME             IMPROVEMENT                               AND           LOWE'S
                                                                                                                                       HOMEThe                      basis         of venue            is
                   CENTERS,               LLC
                                                                                                                                                          Plaintiffs              residence:
                                                                                                                                                          20-32          Utopia             Parkway
                                                                               Defendant(s).

                                                                                                                                                          Whitestone,                    NY       11357



                                                                                To     the     above       named        Defendants:


                                YOU ARE               HEREBY                   SUMMONED                     to answer          the    complaint                  in this         action        and        to


                   serve     a copy       of your        añswcr           on the plaintiffs                attorneys         within      20 days                after      the       service         of    this


                   su-ens,             exclusive         of the          day     of service        of this       summons,             or within            30 days               after      service            of


                   this    summons            is complete           if this          summons            is not   personally           delivered               to you            within        the     State         of


                   New       York.


                                In case       of your          failure         to answer         this     summo          , a jud               ent    b         default          w    (1 be taken


                   against      you     for    the    relief      demanded               in the     complaint,                 e      er wi           the        costs               this    action.


                   Dated:      Astoria,         New      York

                                July      10, 2020




                                                                                                                       By:     Tonino            Sacco,             Es      .
                                                                                                                       SACCO             &      FIL                         LP
                                                                                                                       Attomeys            f              aint            s)
                                                                                                                       31-             ewtown                       enue
                                                                                                                       Seventh          Floor

                                                                                                                       Astoria,        New                ork       11102

                                                                                                                       (718)       746-3              0
                                                                                                                       Our     File     # 24230-20
                   DEFENDANTS:


                   Lowe's       Home          Improvement
                   700      Dibblee       Drive
                   Oarden       City,      NY        11530




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     & FB1AS LIP


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                                                                                       11/06/2020




                     Lowe's    Home      Centers,      LLC
                     700   Dibblee     Drive
                     Garden    City,   NY      11530




                     FORWARD           THIS     IMMEDIATELY   TO   YOUR   ATTORNEY   OR INSURANCE     COMPANY




 IACCO& FRIAS, LLP


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                       SUPREME              COURT               OF THE             STATE            OF NEW           YORK
                       COUNTY             OF QUEENS                                                                                                        Index           No.:


                                                                                                                                                           VERIFIED                       COMPLAINT
                       THALIA            LARDOUTSOS


                                                                                  Plaintiff(s),

                                                -against-



                       LOWE'S              HOME                 IMPROVEMENT                               AND         LOWE'S                  HOME
                       CENTERS,                LLC


                                                                                  Defendant(s).




                                   Plaintift           by   her      attorneys,           SACCO             &     FILLAS,            LLP,       as and         for    her      Verified


                       Complent,           respectfully              alleges,         upon        information            and      belief:


                       1.   The      plaintiff,         Thalia        Lardoutsos,                at all   times     herein         mentioned            was         and     still     is a resident               of


                            the County               of Queens              and    the    State      of New        York.


                       2.   The      defêñdant,             Lowe's           Home         Improvement,              at all     times         herein      motioned,                  was   and       still     is a


                            domestic              limited       liability         company           arganized         and      existing         under         the    laws           of the    State         of


                            New         York,        with      its principal             place     of business            sitüãted          in the     County         of Nassau               and      the


                            State       of New          York.


                       3.   The      defendant,             Lowe's           Home         Improvement,              at all     times         herein      mentioned                  conducted               and


                            carried        on business              in the        County          of Nassau         and     the      State     of New           York.


                       4.   At    all    times        herein       mentioned,              defêñdant            Lowe's       Home           Improvement                   transacted           bu-iness


                            within        the      State    of New            York.


                   .   5.   At    all    times        herein       mentioñed,              defendant            Lowe's       Home           Improvement                   derived         substantial


                            revenue         from        goods         used        or censumed             or services           rendered             in the     State       of New            York.


                       6.   At    all    times        herein       mentioned,              defedet              Lowe's         Home         Improvement                   expected           or should


                            reasonably              have       expected           its acts        to have       ccñseqücñces                 in the     State        of New           York,


                       7.   At    all    times        herein       mendonad,               defendant            Lowe's         Home         Improvement                   derived         ea=ª==dal




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                          revenue        from      interstate        or intemational          commerce.


                     8.   At    all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement               owned           the


                          premises        located         at 700     Dibblee       Drive,     County          of Nassau,          State     of New          York.


                     9.   At    all   times     herein      mentionad,           the   defendant        Lowe's         Home        Improvement               was      one      of the


                          owners        of the     premises          located     at 700     Dibblee          Drive,      County         of Nassau,          State      of New


                          York.


                     10. At     all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement               was      a lessee          of


                          the     premises       leated           at 700   Dibblee       Drive,     County            of Nassau,          State    of New           York.


                     11. At     all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement,               defendant's


                          servants,       agents         and/or     employees          operated       the     premises        located        at 700        Dibblee          Drive,


                          County        of Nassau,          State     of New       York.


                     12. At     all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement,               defendat's


                          servants,       agents      and/or        employees          mainkined            the    premises        located         at 700     Dibblee           Drive,


                          County        of Nassau,          State     of New       York.


                     13. At     all   times     herein      m-tianed,            the   defendant        Lowe's         Home        Improvement,               defendant's


                          servants,       agents         and/or     employees          managed         the    premises         located        at 700       Dibblee           Drive,


                          County        of Nassau,          State     of New       York.


                     14. At     all   times     herein      mentioned,           the   defendant        Lowe's         Home        Improvement,               defendant's


                          servants,       agents         and/or     employees          controlled       the       premises        located         at 700     Dibblee          Drive,


                          County        of Nassau,          State     of New       York.


                     15. At     all   times     herein      menticñêd,           the   defendant        Lowe's         Home        Improvement,               defendant's


                          servants,       agents         and/or     employees          supervised           the   premises        located         at 700      Dibblee          Drive,


                          County        of Nassau,          State     of New       York.


                     16. On or before            May        30,    2020,   the    defendant         Lowe's         Home       Improvement,                 defendant's


                          servants,       agents         and/or      empicyees         repaired       the    premises         located        at 700    Dibblee              Drive,




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                         County         of Nassau,             State       of New           York.


                   17. On        or before          May       30,       2020,      the    defendant          Lowe's           Home         Improvement,                  defendant's


                         servants,           agents       and/or         employees            inspected          the     premises           located         at 700        Dibblee         Drive,


                         County         of Nassau,             State       of New           York.


                   18. On        or before          May       30,       2020,      the    defendant          Lowe's           Home         Improvement,                  defendant's


                         servants,           agents       and/or         employees            constructed              the    premises           located         at 700      Dibblee         Drive,


                         County         of Nassau,             State       of New           York.


                   19. On        or before          May       30,       2020,      the    defendent          Lowe's           Home         Improvement,                  defendant's


                         servants,           agents      and/or          employees            designed           the    premises           located         at 700        Dibblee       Drive,


                         County         of    Nassau,          State       of New           York.


                   20.   At    all    times      herein        mentioned,                it was     the   duty      of the        defendant           Lowe's         Home          Improvement,


                         defendant's            servants,           agents         and/or      employees               to maintic            said     premises            !ecated      at 700


                         Dibblee         Drive,         County           of Nassau,           State       of New         York,        in a reasonably               safe      and    suitable


                         condition            and      in good          repair.


                   21.   The      defendãñt,            Lowe's           Home        Centers,         LLC,       at all       times       herein      motioned,             was     and      still        is a


                         domestic            limited        liability        company           organized           and       existing        under         the    laws     of the      State         of


                         New         York,      with      its principal             place      of busincss             situated         in the      County         of Ï4assau          and      the


                         State       of New         York.


                   22.   The      defendant,            Lowe's           Home        Centers,         LLC,       at all       times       herein      mendoned              conducted                and


                         carried        on business             in the       County          of Nassau           and     the      State     of New          York.


                   23.   At    all    times      herein        metioned,                 defendant         Lowe's            Home       Centers,          LLC       estad               business


                         within        the    State      of New            York.


                   24.   At    all    times      herein        mentioned,                defendant         Lowe's            Home       Centers,          LLC       derived         substantial


                         revenue         from         goods       used       or consumed              or services             rendered           in the     State        of New        York.


                   25.   At    all    times      herein        mêñdened,                 defendant         Lowe's            Home       Centers,          LLC       expected          or should




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                          reasonably          have       expected          its acts    to have         consequences              in the     State      of New           York.


                    26.   At    all   times     herein      mentioned,           defendant             Lowe's         Home       Centers,        LLC      derived          substantial


                          revenue        from      interstate        or international              commerce.


                    27.   At    all times       herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC      owned           the


                          premises        located         at 700     Dibblee          Drive,      County          of Nassau,          State     of New          York.


                    28.   At    all times       herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC      was       one     of the


                          owners        of the     premises          located      at 700        Dibblee         Drive,       County         of Nassau,          State      of New


                          York.


                    29.   At    all   times     herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC      was       a lessee         of


                          the     premises       located          at 700     Dibblee          Drive,     County          of Nasseu,           State    of New           York.


                    30.   At    all   times     herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC,      defendant's


                          servants,       agents         and/or     employees            operated         the     premises        located        at 700        Dibblee          Drive,


                          County        of Nassau,          State     of New          York.


                    31.   At    all   times     herein      mentioned,           the    defendent          Lowe's         Home         Centers,         LLC,      defendant's


                          servants,       agents         and/or     employees            maintained             the    premises        located         at 700     Dibblee          Drive,


                          County        of Nassau,          State     of New          York.


                    32.   At    all   times     herein      mendenad,            the    defendant          Lowe's         Home         Centers,         LLC,      defendant's


                          servants,       agents         and/or     employees            managed          the     premises         located        at 700       Dibblee          Drive,


                          County        of Nassau,          State     of New          York.


                    33.   At    all   times     herein      mentioned,           the    defendant          Lowe's         Home         Centers,         LLC,      defendant's


                          servants,       agents         and/or     cmployees            controlled         the       premises        located         at 700     Dibblee          Drive,


                          County        of Nassau,          State     of New          York.


                    34.   At    all   times     herein                           the    dera-1-*           Lowe's         Home                                    defendant's
                                                            mentioñêd,                                                                 Centers,         LLC,


                          servants,       agents         and/or     employees            supervised         the       premises        located         at 700      Dibblee          Drive,


                          County        of Nassau,          State     of New          York.




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                         35.   On or before                May     30,       2020,      the     defendant                 Lowe's        Home       Centers,           LLC,      defendants


                               servants,         agents       and/or          employees             repaired               the premises            located         at 700      Dibblee          Drive,


                               County          of Nassau,             State        of New        York.


                         36.   On or before                May     30,       2020,      the     defendant                 Lowe's        Home       Centers,           LLC,      defendant's


                               servants,         agents       and/or          employees             inspactad               the     premises        located           at 700    Dibblee           Drive,             .


                               County          of Nassau,             State        of New        York.


                         37.   On or before                May     30,       2020,      the     defendant                 Lowe's        Home       Centers,           LLC,      defendant's


                               servants,         agents         and/or        employees             constructed                   the   premises          located       at 700       Dibblee          Drive,


                               County          of Nassau,             State        of New        York.


                         38.   On or before                May     30,       2020,      the     defendant                 Lowe's        Home       Centers,           LLC,      defendant's


                               servants,         agents         and/or        employees             designed                the    premises        located          at 700      Dibblee           Drive,


                               County          of Nassau,             State        of New        York.


                         39.   At     all    times     herein         mentioned,              it was      the        duty      of the        def-ndant        Lowe's           Home       Centers,          LLC,


                               defendant's             servants,            agents      and/or          cmployees                 to ment-½          said      p=nises           located          at 700


                               Dibblee          Drive,       County           of Nassau,            State           of New          York,      in a reasonably               safe     and    suitable


                               condition             and    in good          repair.


                         40.   That         on or about          May         30,     2020,      while          the    plaintiff,         Thalia      Lardoutsos,               was     lawfully          upon


                               the     defendant's           premises              located        at 700        Dibblee             Drive,      County         of Nassau,            State      of New


                               York,         when      she      was      caused         to fall     by     a dangerous,                  hazardous           and      unsafe        condition         of the


                               curb         in the parking            lot     located         in front         of the        subject         premises,        causing          her    to sustain


                               grievous          personal          injuries          with      attendant             special        damage.

                                                                               defendants'
                         41.   Solely         as a result        of the                                 negligence,                carelessness            and      recklessness,            Thalia


                               Lardcutsos             was     caused           to suffer         severe         and        serious       personal          injuries      to mind          and      body,       and


                               further,        that    Thalia         Lardoutsos              was       subjected             to great         physical       pain      and     mental          anguish.


                         42.   The      aforesaid           occurrence               was      caus-d       by        the    negligence            of the      defend=.nts,            without         any
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                         culpable           conduct              on     the     part       of Thalia             Lardoutsos.


                   43.   By      reason       of the          foregoing,               Thalia           Lardoutsos                 was        severely             injured         and      damaged,              sustained


                         severe         nervous            shock          and        mental            anguish,           great        physical             pain      and        emotional             upset,       some          of


                         which          injuries           are believed                to be permañcat                         in nature           and       duration,            and      Thalia        Lardoutscs


                         will     be permanently                       caused          to suffer              pain,      inconvenience                      and      other        effects         of such         injuries;


                         Thalia         Lardout=s                 incurred             and         in the       future         will      necessarily                incur        further         hospital         and/or


                         medical          expenses               in an effort                to be cured                of said          injuries;          and      Thalia         Lardoutsos               will      be


                         unable         to pursue             Thalia            Lardoutsos's                   usual      duties          with       the     same         degree           of efficiency              as


                         prior      to this        accident,             all     to Thalia              Lardoutsos's                  great       damage.


                   44.   As      a result        of the          foregoing,                plaintiff           has     become             sick,      sore,         lame      and      disabled,             has


                         sustained           severe          and        serious            injuries,            has     suffered           and       will     condñüe              to suffer            severe        mental


                         and      nervous           shock          with         accompañying                      pain,         has      required           medical              treatment          and      was       and


                         will     be unable                to attend            to her        usual           duties      for      a long         period           of time;         was       obliged           to and        did


                         expend          large       sums          of money                 for     medical             care       and     attention           and        will     be required               to expend


                         additional           sums           of money                for     madical             care         in the      future       to attend             to her        injuries         which          she


                         believes          to be of           a permanent                    nature.


                   45.   As      a result        of the          foregoing             negligence                 of the         defend=e,                   the     plaintiff          has      expended             and


                         become           chligated              for      the     sums            of money              for     medical           care       and      etention             for    the     plaintiff          in


                         an effort          to cure          her       of her        injuries            and      to alleviate              her      pain      and                               was     ca=ad          to
                                                                                                                                                                          suffering;


                         incur      damages.


                   46.   This      action          falls     within            one     or more                of the      exceptions               set forth           in Section                1602       of the     Civil


                         Practice          Law        and        Rules.

                                         defendants'
                   47.   Due       to                                 negligence,                 plaintiff           is entitled          to damages.


                                                 WHEREFORE,                                the      plaintiff           demands            judgment                 awarding             damages,            in an


                   amount         exceeding                the     moñctaiy                jurisdictional                 limits         of all      lower          courts         which         would          otherwise




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                   have     jurisdiction,             together    with    interest    and       the   costs    and      disbursements             o           ____,   d such


                   other     and      further     relief     as to this    Court     seems        just   and    proper.




                   Dated:         Astoria,      New        York                                                                              \.

                                  July       10, 2020




                                                                                                              By:     Tonin            acco,      E       .   ×

                                                                                                              SACCO                FILLAS,            LLP
                                                                                                              Attorne         s for    Plaintiff(s)
                                                                                                              31-19           ewtown       Ave
                                                                                                              Seve       th Floor
                                                                                                              Asto            Ne          ork     11102

                                                                                                              (718)      746-3440
                                                                                                              Our     File    # 24230-20




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                     SUPREME                 COURT             OF THE             STATE          OF NEW YORK
                     COUNTY               OF QUEENS

                                                                                                                                 INDEX      NO.:
                     THALIA               LARDOUTSOS


                                                                                 Plaintiff(s),                                   INDIVIDUAX..
                                                                                                                                 VERIFIÇATKON
                                                 -against-


                     LOWE'S               HOME          IMPROVEMENT                         AND       LOWE'S       HOME
                     CENTERS,                LLC


                                                                                 Defendant(s).




                  STATE        OF NEW YORK
                  COUNTY             OF QUEENS



                              Thalia         Lardonnes,                 sworn,      deposes      and    says:


                              That        1 am the          plaintiff          in the within      action.


                              I have         read     the  foregaing  SUMMONS       AND VERIFIED                                 COMPLAINT            and   know    the
                  contents         thereof        and   the same is true to the best of my knowledge,                             except    as to those      matters
                  herein     stated       to be alleged                 upon     information          and belief   and that   as to those       matters,    I believe
                  them     to be true.




                                                                                                                        Thalia     Lardoutsos
                  Sworn       to before_methis


                             day     of


                                             !




                                        Yamifett C. Pemett
                           Commissioner    of Deeds,
                                                      City of New York
                                           No. 4-10170
                                 Cert. Filed in Queens
                             Commission                   County
                                          Expires Navamber 1,
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               SUPJtEME             GOURT         OF THE           STATE         OF NEW               YORK
               COUNTY           OF QUEENS
                                                                                                                            Index        No.:




               THALIA          LARDOUTSOS


                                                                Plaintiff(s),

                                     -against-


               LOWE'S         HOME         IMPROVEMENT                       AND        LOWE'S               HOME           CENTERS,                   LLC


                                                                Defendant(s).




                                                              SUMMONS                   and      VERIFIED                   GOMPLAINT




               Parsuant       to 22    NYCRR            130-1.1,      the    undersigned,              an attorney             a            ed t        prac    ce in     e courts
               of New        York     State,     certifies    that,   upon        information               and    belief           d re           nabl        nqui     , the
               contentions          contaiñêd        in the   annexed           documents             are noffrivolo                s.


                Dated:       Queens,       NY
                             July     10, 2020

                                                                                                      Signature:
                                                                                                      By:     Tonino                cco,        Esq.




                                                                        SACCO               &   FILLAS,               LP
                                                                            Attorneys           for   Plaintiff(s)
                                                                                 Thalia         Lardoutsos
                                                                            31-19       Newtown              Avenue
                                                                                      Seventh         Floor

                                                                         Astoria,         New         York        11102

                                                                                    (718)       746-3440
                                                                                Our     File     # 24230-20




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          SUPREME             COURT             OF THE                  STATE             OF      NEW YORK
          COUNTY            OF QUEENS


          THALIA        LARDOUTSOS                                                                                                                        INDEX            NO.      710351/2020


                                                                      Plaintiff(s)           '
                                                                                                                                                          AFFIDAVIT                   OF
                                                                                                                                                          ADDITIONAL                        MAILING
                               -against-                                                                                                                  UNDER             CPLR            § 3215(f)




          LOWE'S       HOME             IMPROVEMENT                                  AND          LOWE'S             HOME
          CENTERS,             LLC

                                                                      Defendant(s).



          STATE      OF     NEW YORK                                                 )
          COUNTY            OF QUEENS                                                )       S.S.:


                    Regina        M.     Szmuc,              being         duly          sworn,         swears       under          the    penalties           of perjury             as follows:

               1.   I am over           eighteen             (18)       years        of     age        and      am not      a party         to this         action         and     reside       in the

                    State      of New           York.
                                 24d'
               2.   On the                 day       of      August,           I mailed               a letter     that    included              a copy       of     the    Summons                  and

                    Verified         Complaint                  and      Affidavit               of    Service,       to defendant                 LOWE'S                HOME
                    IMPROVEMENT                              AND          LOWE'S                 HOME             CENTERS,                 LLC            at 700     Dibble          Drive,          Garden

                    City,      NY       11530          via      first     class          mail,        advising       them          that    an Summons                    and      Verified

                    Complaint            was         previously                served            on    July      23, 2020.        The            letter     was      sent        in a plain
                                                                                                                   Confidential,"
                    envelope           bearing            the     legend          "Personal               and                                     as required              by     CPLR          § 3215(f).
                    The     letter      did     not       evince          any        marking             that     it was        sent      from       an attorney's                office       or that     it

                    concerned            an alleged               debt.

               3.   Included           with      the      Summons                 and        Complaint              was         a notice         advising          the     defendants,

                    LOWE'S             HOME               IMPROVEMENT                                 AND         LOWE'S               HOME               CENTERS,               LLC,         that

                    service       was         duly        made          upon      their          busiñess          on July         23,     2020.




                                                                                                                          egi      a M.      Szmuc
          Sworn     to before        me
          on   N     mber       6, 20


                                                                                                            GENE        M. TARADASH
                                                                                                       Notary Pubile, State of New York
                                                                                                         Registration      #01TA6044583
          NOTARY                BLIC                                                                    Qualified     In New York Coun
                                                                                                       Commission Expires July 10, 20
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                   SUPREME              COURT            OF THE                STATE           OF NEW           YORK
                   COUNTY             OF QUEENS
                                                                                                                                            Index        No.    710351/2020


                   THALIA           LARDOUTSOS,


                                                                        Plaintiff,
                                                                                                                                            AFFIDAVIT                  IN    SUPPORT
                                         -againsi-



                   LOWE'S            HOME           IMPROVEMENT                            and      LOWE'S            HOME
                   CENTERS,             LLC,


                                                                           Defendants.




                   STATE        OF NEW              YORK                   }
                                                                        } SS.:
                   COUNTY             OF QUEENS                            }


                              THALIA            LARDOUTSOS,                            being      duly     sworn,      deposes        and       says:


                         1.    That     I am       the   Plaintiff         in the       within       action.


                         2.    I incorporate             and     support         all    the statements              made     in my attorney's               accompañyiñg                Affirmation


                   as if stated       in full      herein.


                         3.    I make       this     Affidavit         in       Support          of this     Motion        for    default       judgment          agaiñst        the    Defendants,


                   LOWE'S           HOME           IMPROVEMENT                          and      LOWE'S             HOME          CENTERS,               LLC.


                         4.   This      is an action           for   personal            injuries        occurring         from    an incident            on May         30, 2020        when      I was


                   caused     to fall     by    a dangerous,                   hazardous          and      unsafe     condition         of the       curb       in the      parking      lot    in front


                              Defendants'
                   of   the                          premises          located            at 700         Dibblee      Drive,        County          of   Nassan,         State     of   New       York,


                   causing      me to sustaiñ             grievous             personal        injuries        with   attendant         special          damage.


                         5.    By     reason       of the occurrence,                   I sustained         the following           injuries,        which       are permanent              in nature:


                              RIGHT       WRIST3:




                   ' Below     listed injured acoc:,siimied the Plaintiff to undergo an Open Reduction                                        Internal      Fixation     of the right distal radius
                   fracture   on June 10, 2020 perfonned by Dr. David V. Tuckman.

  SACCO
      & FILLAS,
             LLP
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                                        a)          Acute           completc             cessinuted                     displaced          diãñietaphyseal                 distal      radius           fracture;


                                        b)          Acute          complete              displaced               ulnar        styloid      fracture;           and     multiple            edemas         of fingers.


                           6.     Based          upon          the      foregoing,                 my attorneys                 advise         me that         I have       a meritorious                    cause      of     action


                   since        I was        caused          to be injured                  when           I was        lawfully         upon          said    premises.


                           7.     The        negligence                of the       Defendants,                    LOWE'S               HOME            IMPROVEMENT                             and     LOWE'S               HOME


                   CENTERS,                   LLC,           its    agents,         servants,                licêñsces,            contractors,               subcontractors,                   employees              and        other



                   affiliates,          agencies              and      depamcats,                     and         those        acting      under         its direction,             behest,           permission,                 in the


                   ownership,                management,                    operation,                inspection,               supervision,              maiñteñance,               control            and      repair         of    the


                                                                                                                           Defendants'
                   aforesaid            parking             lot      located           in     front         of    the                                  premises          located           at     700        Dibblee           Drive,


                   County          of     Nessu,               State        of     New             York;         in     permitting             and      allawing          their      property             to     be     kept         in     a


                   dangerous              condition                at the aforesaid                   location,           which         presented             a dangerous            and        hazardous              condition;


                   in permitting                 and        allowing             a tripping             hazard            to exist        on    its     premises;          in failing             to give        any        warning


                   of    the     aforesaid             dangerous                 and        unsafe          condition;             in   failing         to provide           those         lawfully            upon         the      said



                   premises,            and      I, in particular,                  with           a safe         place        to walk;         in failing           to maintain             the      said      area      in a safe


                   condition            and      permitting                the dangerous                    and        unsafe      condition             to exist      which         Defenda.ats,               knew,         and/or


                   in the        exercise           of reasonable                  care,           should         have        known,           would          cause     injury       to persons                lawfully           upon          1

                                                                                              Defeñdsets'
                   the     parking            lot      in      front        of     the                                        premises;           in     permitting            and         allowing             the     aforesaid


                   dangerous              and       unsafe             condition              to     exist        in     an     area     where          people         would         be     walking;             in     failing           to


                   inspect         or improperly                     inspecting               the     said        area;       in failing          to take       the     necessary               and     requisite            steps        to


                   prevent         this       foreseeable                  occurrence;                 in    failing          to hire      competcñt                 employees;              in    failing        to train           and


                   instruct        its employees                     properly               with      regard           to safety         procedure;             in failing          to provide               its patrons             and


                   customers              with       a safe          means          of       ingress             and     egress;        and       in    violating        the      applicable             laws,         rules,        and


                   regulations               then      and         there     pertaining.


                           8.     I respectfully                   request         that       this     Motion             be granted            in its entirety           and       that     such       other         and     further




  $ACCO      LLP
      & MLLAS,
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                   relief    be granted       as to this    Court    seems   just   and   proper.




                                                                                                X
                                                                                                            IÓ   LIA   LARDOUTSOS


                   Sworn      and   subscri      ed to before        me
                   This                 of      ovett   f   %L       0
                            _(Q__ day                            f

                                                                                                      GENE       M. TARADASH
                                                                                                Notary Public,     State of New York
                                                                                                  Registration      #01TA6044583
                                                                                                 Cüalified     In New York Count
                                                                                                Commission Expires July 10, 20
                   NOTARY           PUBLIC




  SACCO
      & FILLAS,
             LLP
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           SUPREME                 COURT    OF THE                                     STATE             OF      NEW YORK
           COUNTY                 OF QUEENS

                                                         STATEMENT                      OF AUTHORIZATION                                                FOR
                                                                                   ELECTRONIC     FILING
                                      (Single              Attorney                     Authorizing                  Individual                    Filing         Agent)


                         I,    TONINO             SACCO                                                  , Esq., ( Attorney                Registration                No.
           2375772                                 ) am an authorized                           user      of the New York                  State        Courts         Electronic        Filing
           System            ("NYSCEF")           (User  ID                                                    ). I hereby           authorize
           GENE               M. TARADASH                                                                               ("the   filing  agent")    to utilize    his/her
           NYSCEF             filing    agent         ID       to file     documents               on my behalf    and at my direction          in any e-filed       matter
           in which           I am counsel              of record               through          the NYSCEF     system,      as provided     in Section       202.5-b     of
           the      Uniform        Rules        for     the       Trial         Courts.


                         This     authorization                   extends              to any     consensual             matter        in which             I have      previously
           consented            to e-filing,  to any mandatory                                  matter        in which           I have         recorded         my representation,                   and
           to any matter             in which   I may authorize                               the   filing       agent       to record            my consent             or representation
           in the NYSCEF                system.


                         This     authorization                   extends              to any and all documents     I generate   and submit                                          to the    filing
           agent       for  filing   in any such matter.                               This authorization,   posted   once   on the NYSCEF                                           website        as to
           each       matter      in which  I am counsel                               of record,        shall    be deemed                to accompany                 any    document             filed
           in that       matter      by the           filing       agent.


                         This     authorization                   also     extends            to matters          of payment,               which    the filing    agent may make
           either      by debiting             an account                 the filing agent  maintains      with                           the  County     Clerk   of any authorized
                                      or by debiting                      an account   I maintain     with  the                                     Clerk    of any authorized      e-
           e-filing     county                                                                                                            County
           filing     county.


                         This     a t      oriz                n regar           ing this filing             agent       shall      continue            until     I revoke          it in writing
           on a pres               ed for                  livered              o the E-Filing               Resource            Center.


           Dated:        1        14201




                                                                                                                     ASTORIA,                    N.Y.       11102

           Signature                                                                                                 City,        State     and      Zip        Code

           TONIN               SAC              , ESQ.                                                               (718)          269-2222

           Print      Nam                                                                                            Phone



           SACCO              & FILLAS,                LLP                                                           TSACCO@SACCOFILLAS.COM

           Firm/Department                                                                                           E-Mail          Address



           31-19        NEWTOWN                       AVENUE,                    FL.      7

           Street      Address
                                                                                                                                                                                (6/6/l3)




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                                                       REQUEST           FOR     JUDICIAL         INTERVENTION

                                                      SUPREME            3    COURT, COUNTY OF QUEENS

               ..,                        Index No:        710351/2020                  Date Index Issued:                  07/17/2020                                 FOr COurtySe     Only:

   CAPTION            Enter the complete case caption. Do not use et al or et ara           If more space is needed, attach a caption rider sheet.                         IAS Entry Date


   THALIA            LARDOUTSOS,

                                                                                                                                      Plaintiff(s)/Petitioner(s)           JudgeAssigned
   -against-


    LOWE'S           HOME       IMPROVEMENT                   and      LOWE'S          HOME       CENTERS,                  LLC,
                                                                                                                                                                            RJIFiled Date



                                                                                                                               Defendant(s)/Respondent(s)
   NATURE OF ACTION OR PROCEEDING                    Check only one box and specifywhere         indicated.
   COMMERICIAL                                                                                   MATR1MONIAL
   O    BusinessEntity (includes corporations, partnerships, LLCs,LLPs,etc.)                     O         Contested
   O    Contract                                                                                           NOTE: If there ore children under the age of 18, complete ond attach the
   O    Insurance (where insurance company is a party, except arbitration)                                 MATRIMONIAL RJIADDENDUM (UCS-840M).
   O    UCC(includes salesand negotiable instruments)                                                      For Uncontested Matrimonial actions, use the Uncontested Divorce RJI(UD-13).
   O    Other Commercial (specify):                                                              TORTS
   NOTE:For Commercial Division assignment requests pursuant to 22 NYCRR202.70(d),               O         Asbestos
   complete and ottach the COMMERCIALOlVISIONRJiADDENDUM (UCS-84OC).                             Q         Child Victims Act
   REALPROPERTY            Specify how many properties the application includes:                 O         Environmental (specify):
   O    condemnation                                                                             O         Medical, Dental or Podiatric Malpractice
   O    Mortgage Foreclosure (specify):            O Residential      O commercial               O         Motor Vehicle
        Property Address:                                                                        O         Products Liability (specify):
        NOTE:For Mortgage Foreclosureoctions involving o one to four-family,                     ®         Other Negligence (specify): Trip & Fall incident
        owner-occupied residential property or owner-occupied condominium,                       O         Other Professional Malpractice (specify):
        complete and ottach the FORECLOSURE     RJIADDENDUM (UCS-840F).                          O         Other Tort (specify):
   O    Tax Certiorari                                                                           SPECIALPROCEEDINGS
   O    Tax Foreclosure                                                                          O     CPLRArticle 75 (Arbitration) [see NOTE in COMMERCIALsection]
   O    Other Real Property (specify):                                                           O     CPLRArticle 78 (Body or Officer)
   OTHERMATTERS                                                                                  O         Election Law
   O    Certificate of incorporation/Dissolution       [seeNOTEin cOMMERCIAL section1            O         Extreme RiskProtection Order
   O    Emergency Medical Treatment                                                              O         MHL Article 9.60 (Kendra's Law)
   O    HabeasCorpus                                                                             O         MHL Article 10 (SexOffender Confinement-Initial)
   O    LocalCourt Appeal                                                                        O         MHL Article 10 (SexOffender Confinement-Review)
   O    Mechanic's Lien                                                                          O         MHL Article 81 (Guardianship)
   O    Name Change                                                                              O         Other Mental Hygiene (specify):
   O    Pistol Permit Revocation Hearing                                                         O         Other Special Proceeding (specify):
   O    Saleor Financeof Religious/Not-for-Profit Property
   O    Other (specify):

   STATUS OF ACTION OR PROCEEDING                      Answer YESor NO for every questicn and enter additional                     information     where indicated.
                                                                                  YES      NO
   Has a summons and complaint or summons with notice been filed?                       ®              O        If yes, date filed:              07/17/2020
   Has a summons and complaint or summons with notice been served?                      ®              O        If yes, date served:             07/23/2020
   Is this action/proceeding being filed post-judgment?                                 O              ©        If yes, judgment date:

   NATURE OF JUDICIAL INTERVENTION                     Check one box only and enter         dd%nel         information     whereindicated.
   O    Infant's Compromise
   O    Extreme RiskProtection Order Application
   O    Note of Issue/Certificate of Readiness
   O    Notice of Medical, Dental or Podiatric Malpractice         Date IssueJoined:
   @    Notice of Motion                                           Relief Requested:         Default       Judgment                    Return Date:           12/14/2020
   O    Notice of Petition                                         Relief Requested:                                                   Return Date:
   O    order to Show Cause                                        Relief Requested:                                                   Return Date:
   O    Other Ex Parte Application                                 Relief Requested:
   O    Poor PersonApplication
   O    Request for Preliminary Conference
   O    Residential Mortgage Foreclosure Settlement Conference
   O    Writ of HabeasCorpus
   O    Other (specify):


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   RELATED CASES2         List an related actions.     For Manirnonial    cases list aný related criniinator Family Court cases     If none, leave blank.
                          If édditione! space istequired,temp!ete        and attach the Ril ADDENDE.(NI (UCS-840A).
   CaseTitle                                    Index/Case Number           Court                            Judge (if assigned)         Relationship to instant case




   NONE




   PARTIES                For parties withoutar                           "Un-Rep" box
                                                     attorney,pheck   the                 and enter the party's address, phone number and email in the space provided.
                           If addit!éne! space is required,¾oïnplete    a dattach the R1l ADDENÒiÏM (UCS-840A).
   Un- Parties                                      Attorneys and Unrepresented Litigants                                          Issue Joined          Insurance Carriers
   Rep List parties in same order as listed in the For represented parties, provide attorney's name, firm name, address, phone and For each defendant, For each defendant,
       caption and indicate roles (e.g., plaintiff, email. For unrepresented parties, provide party's address, phone and email     indicate if issue has indicate insurance
                    3'd
       defendant,       party plaintiff, etc.)                                                                                     been joined.          carrier, if applicable.
       Nanle:                                       SACCO  & FILLAS.LLP
                THALIA       LARDOUTSOS
       Role(s):                                     31-19Newtown Avenue.Astoria,NY11102                                              O YES @ NO
                                                                gtaradash@saccofillas.com
                                                    718-269•1626:

        Name: LOWES HOMEIMPROVEMENT                700DibbleeDrive,GardenCity.NY11530
        Role(s):                                   (516)794-6531                                                                          Q YES      ® NO
                Defendant
        Name: LOWE'SHOMECENTERS.
                              LLC                  700DibbleeDrive.GardenCity.NY11530
        Role(s):                                   (516)7944531                                                                           Q YES      @ NO
                Defendant
        Name:
        Role(s):                                                                                                                          Q YES      Q NO

        Name:
        Role(s):                                                                                                                          O YES      O NO

        Name:
        Role(s):                                                                                                                          O YES      O NO

        Name:
        Role(s):                                                                                                                          O YES      O NO

        Name:
        Role(s):                                                                                                                          O YES      O NO

        Name:
        Role(s):                                                                                                                          O YES      O NO

        Name:
        Role(s):                                                                                                                          O YES      O NO

        Name:
        Role(s):                                                                                                                          O YES      O NO

        Name:
        Role(s):                                                                                                                          O YES      O NO

        Name:
        Role(s):                                                                                                                          O YES      O NO

        Name:
        Role(s):                                                                                                                                     Q NO

        Name:
        Role(s):                                                                                                                          Q      S   O NO

   I Al FIRM UNDER THE PENALTY OF PER.URY THAT, UPON INFORMATION AND BELIEF, THERE ARE O OT        :                                          TED ACTIONS OR PROCEEDINGS,
        EXCEPT AS NOTED ABOVE, NOR H/.5 A REQUEST FOR JUDICIAL INTERVENTION BEEN PREVIOUS  ILEli I                                            IS ACTION OR PROCEEDING.



   Dated:          11/06/2020
                                                                                                                                   ign     ure

                                         2375772                                                                            TO            SACCO

                           Attorney    Registration     Number                                                                   Print Name


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         STATE OF NEW YORK
         SUPREME COURT : COUNTY OF QUEENS

         THALIA LARDOUTSOS,
                                                                     VERIFIED ANSWER
                                              Plaintiff,
         v.                                                          Index No.: 710351/2020

         LOWE’S HOME IMPROVEMENT and
         LOWE’S HOME CENTERS, LLC,

                                              Defendants.

                  Defendant, Lowe’s Home Centers, LLC (incorrectly sued as “Lowe’s Home

         Improvement and Lowe’s Home Centers, LLC”) (“Lowe’s”), by its attorneys, Goldberg Segalla

         LLP, for its Verified Answer to the plaintiff’s Verified Complaint, responds as follows, upon

         information and belief:

                  1.    Lowe’s denies having knowledge or information sufficient to form a belief as to

         the allegations contained in paragraph 1 of the Verified Complaint.

                  2.    Lowe’s denies the allegations contained in paragraph 2 of the Verified Complaint.

                  3.    Lowe’s denies the allegations contained in paragraph 3 of the Verified Complaint.

                  4.    Lowe’s denies the allegations contained in paragraph 4 of the Verified Complaint.

                  5.    Lowe’s denies the allegations contained in paragraph 5 of the Verified Complaint.

                  6.    Lowe’s denies the allegations contained in paragraph 6 of the Verified Complaint.

                  7.    Lowe’s denies the allegations contained in paragraph 7 of the Verified Complaint.

                  8.    Lowe’s denies the allegations contained in paragraph 8 of the Verified Complaint.

                  9.    Lowe’s denies the allegations contained in paragraph 9 of the Verified Complaint.

                  10.   Lowe’s denies the allegations contained in paragraph 10 of the Verified

         Complaint.




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                  11.   Lowe’s denies the allegations contained in paragraph 11 of the Verified

         Complaint.

                  12.   Lowe’s denies the allegations contained in paragraph 12 of the Verified

         Complaint.

                  13.   Lowe’s denies the allegations contained in paragraph 13 of the Verified

         Complaint.

                  14.   Lowe’s denies the allegations contained in paragraph 14 of the Verified

         Complaint.

                  15.   Lowe’s denies the allegations contained in paragraph 15 of the Verified

         Complaint.

                  16.   Lowe’s denies the allegations contained in paragraph 16 of the Verified

         Complaint.

                  17.   Lowe’s denies the allegations contained in paragraph 17 of the Verified

         Complaint.

                  18.   Lowe’s denies the allegations contained in paragraph 18 of the Verified

         Complaint.

                  19.   Lowe’s denies the allegations contained in paragraph 19 of the Verified

         Complaint.

                  20.   Lowe’s denies the allegations contained in paragraph 20 of the Verified

         Complaint.

                  21.   In response to paragraph 21 of the Verified Complaint, Lowe’s states that Lowe’s

         Home Centers, LLC was and is a foreign limited liability company organized and existing under

         and by virtue of the laws of the State of North Carolina, with its principal place of business



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         located at 1000 Lowe’s Boulevard, Mooresville, North Carolina, and denies the remaining

         allegations contained in paragraph 21 of the Verified Complaint.

                  22.   Lowe’s admits the allegations contained in paragraph 22 of the Verified

         Complaint.

                  23.   Lowe’s admits the allegations contained in paragraph 23 of the Verified

         Complaint.

                  24.   Lowe’s denies having knowledge or information sufficient to form a belief as to

         the allegations contained in paragraph 24 of the Verified Complaint.

                  25.   Lowe’s denies having knowledge or information sufficient to form a belief as to

         the allegations contained in paragraph 25 of the Verified Complaint.

                  26.   Lowe’s denies having knowledge or information sufficient to form a belief as to

         the allegations contained in paragraph 26 of the Verified Complaint.

                  27.   Lowe’s denies the allegations contained in paragraph 27 of the Verified

         Complaint.

                  28.   Lowe’s denies the allegations contained in paragraph 28 of the Verified

         Complaint.

                  29.   Lowe’s admits the allegations contained in paragraph 29 of the Verified

         Complaint.

                  30.   In response to paragraph 30 of the Verified Complaint, Lowe’s admits that

         Lowe’s operated a home improvement retail store on the premises located at 700 Dibblee Drive,

         Garden City, New York 11530, and denies any remaining allegations contained within paragraph

         30 of the Verified Complaint.

                  31.   Lowe’s denies the allegations contained in paragraph 31 of the Verified

         Complaint.

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                  32.   Lowe’s denies the allegations contained in paragraph 32 of the Verified

         Complaint.

                  33.   Lowe’s denies the allegations contained in paragraph 33 of the Verified

         Complaint.

                  34.   Lowe’s denies the allegations contained in paragraph 34 of the Verified

         Complaint.

                  35.   Lowe’s denies the allegations contained in paragraph 35 of the Verified

         Complaint.

                  36.   Lowe’s denies the allegations contained in paragraph 36 of the Verified

         Complaint.

                  37.   Lowe’s denies the allegations contained in paragraph 37 of the Verified

         Complaint.

                  38.   Lowe’s denies the allegations contained in paragraph 38 of the Verified

         Complaint.

                  39.   Paragraph 39 of the Verified Complaint calls for a legal conclusion to which no

         response is required. To the extent that a response is required, Lowe’s denied the allegations

         contained in paragraph 39 of the Verified Complaint.

                  40.   Lowe’s denies the allegations contained in paragraph 40 of the Verified

         Complaint.

                  41.   Lowe’s denies the allegations contained in paragraph 41 of the Verified

         Complaint.

                  42.   Lowe’s denies the allegations contained in paragraph 42 of the Verified

         Complaint.



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                  43.     Lowe’s denies the allegations contained in paragraph 43 of the Verified

         Complaint.

                  44.     Lowe’s denies the allegations contained in paragraph 44 of the Verified

         Complaint.

                  45.     Lowe’s denies the allegations contained in paragraph 45 of the Verified

         Complaint.

                  46.     Lowe’s denies the allegations contained in paragraph 46 of the Verified

         Complaint.

                  47.     Lowe’s denies the allegations contained in paragraph 47 of the Verified

         Complaint.

                  48.     Lowe’s denies each and every other allegation of the Verified Complaint not

         hereinbefore specifically admitted, denied, or otherwise controverted.

               AS AND FOR A FIRST SEPARATE AND COMPLETE AFFIRMATIVE DEFENSE,
                        LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  49.     The injuries and/or damages alleged in the Verified Complaint were caused in

         whole or in part by the culpable conduct, want of care, and assumption of risk on the part of the

         plaintiff, and without negligence, fault, or want of care on the part of Lowe’s.

                       AS AND FOR A SECOND SEPARATE AND COMPLETE AFFIRMATIVE
                        DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  50.     If Lowe’s is found liable to the plaintiff, its responsibility for the accident is less

         than fifty-one percent (51%) of the total liability assigned to all persons liable and, therefore, any

         recovery by the plaintiff for non-economic loss against Lowe’s should be limited to its

         percentage of liability.




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              AS AND FOR A THIRD SEPARATE AND COMPLETE AFFIRMATIVE DEFENSE,
                       LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  51.     The Verified Complaint fails to state a cause of action against Lowe’s.

                       AS AND FOR A FOURTH SEPARATE AND COMPLETE AFFIRMATIVE
                        DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  52.     The plaintiff’s injuries, if any, were caused in whole or in part by a person or

         persons who are not within the control of Lowe’s.

               AS AND FOR A FIFTH SEPARATE AND COMPLETE AFFIRMATIVE DEFENSE,
                        LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  53.     That pursuant to CPLR §4545 and other applicable sections of the CPLR, Lowe’s

         is entitled to a set off against the amount of any verdict of any monies collected from a collateral

         source of payment.

               AS AND FOR A SIXTH SEPARATE AND COMPLETE AFFIRMATIVE DEFENSE,
                        LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  54.     Plaintiff failed to mitigate her alleged damages.

                       AS AND FOR A SEVENTH SEPARATE AND COMPLETE AFFIRMATIVE
                        DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  55.     The underlying incident and alleged resulting injuries were not proximately

         caused by any action or inaction of Lowe’s.

                       AS AND FOR AN EIGHTH SEPARATE AND COMPLETE AFFIRMATIVE
                        DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  56.     Plaintiff was the sole proximate cause of the alleged incident and her alleged

         injuries.

              AS AND FOR A NINTH SEPARATE AND COMPLETE AFFIRMATIVE DEFENSE,
                       LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  57.     In the event the Plaintiff seeks to recover a verdict or judgment against Lowe’s,

         then said verdict or judgment must exclude or be reduced by those amounts which have been, or


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         will with reasonable certainty replace or indemnify the plaintiff, in whole or in part, for any past

         or future medical costs, health care, life care, or other economic loss or the benefit that is offered

         or provided under or in connection with the Patient Protection and Affordable Care Act.

                        AS AND FOR A TENTH SEPARATE AND COMPLETE AFFIRMATIVE
                        DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  58.     If the plaintiff receives or has received sums of money in settlement of the claims

         asserted herein, Lowe’s is entitled to the protection, provisions, and limitations of Section 15-108

         of the General Obligations Law of the State of New York in reducing the claim of the plaintiff

         against Lowe’s by the amount stipulated in the Release, the amount of consideration paid for it

         or the amount of the released defendants’ equitable share of the damages, whichever is the

         greatest.

                  AS AND FOR AN ELEVENTH SEPARATE AND COMPLETE AFFIRMATIVE
                     DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  59.     Any risks and dangers at the time and place set forth as the location of the

         happening of the incident as alleged in the Verified Complaint were open, obvious, and apparent.

                       AS AND FOR A TWELFTH SEPARATE AND COMPLETE AFFIRMATIVE
                        DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  60.     Any alleged injuries and/or expenses resulted from the pre-existing and/or

         unrelated medical conditions, injuries, or illnesses of the Plaintiff.

                 AS AND FOR A THIRTEENTH SEPARATE AND COMPLETE AFFIRMATIVE
                    DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  61.     Lowe’s reserves the right to amend this Answer and to add any applicable

         affirmative defenses after it has had the opportunity to discovery all facts relevant to this action.

                  WHEREFORE, Lowe’s demands judgment as follows:

                          a.     Dismissing plaintiff’s Verified Complaint, or



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                        b.      Reducing plaintiff’s recovery in the proportion to which the plaintiff’s

         culpable conduct, assumption of risk, and want of care bears to the culpable conduct which

         caused the plaintiff’s damages;

                        c.      Limiting plaintiff’s recovery for non-economic loss against Lowe’s to the

         percentage of responsibility attributed to Lowe’s, if that percentage is less than fifty-one percent

         (51%), and

                        d.      Such other and further relief as to this Court may seem just, proper, and

         equitable together with the costs and disbursements of this action.


         Dated: Buffalo, New York
                December 29, 2020

                                                              GOLDBERG SEGALLA LLP



                                                              Kenneth L. Bostick, Jr., Esq.
                                                              Attorney for Defendants
                                                              Lowe’s Home Centers, LLC
                                                              665 Main Street
                                                              Buffalo, New York 14203
                                                              (716) 566-5400

         TO:      Tonino Sacco, Esq.
                  Sacco & Fillas, LLP
                  Attorneys for Plaintiff
                  31-19 Newtown Avenue, Seventh Floor
                  Astoria, New York 11102
                  (718) 746-3440




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                 COUNTY                   OF QUEENS
                 ---------------------------------------------------
                                                                                                                ---------X
                                                                                                                                           STIPULATION                        TO
                 THALIA                  LARDOUTSOS
                                                                                                                                           WITHDRAW                        MOTION

                                                                              Plaintiff(s),


                                                -against-



                 LOWE'S                  HOME            IMPROVEMENT                      AND       LOWE'S             HOME
                 CENTERS,                   LLC


                                                                              Defendant(s).
                 -----------------------------------------------                                                ---------X

                           IT       IS     HEREBY                STIPULATED                   AND      AGREED                by    and        between           the     attomeys           for    the


              respective            parties            herein        that   the    motion      currently          returnable             on      January          14,      2021       is   hereby


              withdrawñ             and         asks     the     Court      not    to render       and/or      enter    a Decision/Order                        thereon.          A   facsimile



              copy     of this           Stipula                 s           rve        an original.


              Dated:        Que            s,   NY
                           De            mber           9, 20




                 SACCO               &      F          LAS,                                            Goldberg          Segalla
                 By:       Tonino               acco,       Esq·                                                        for
                                                                                                       Attorney                   Defêñdañt(s)
                 Attorney                  r Thalia            Lardoutso
                                                                                                       Lowe's          Home           Centers,       LLC
                 31-19          N          own         Avenue
                                                                                                       Lowe's          Home           Improvement
                 Seven              Floor
                 Astori             NY          1110                                                   665     Main          Street

                 718-74             -344                                                               Buffalo,         NY        14203
                 Our       File           o: 24230-20                                                              566-5400
                                                                                                       (716)
                                                                                                       By:     Kenneth            L.    Bostick,         Jr.,     Esq.




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                                                                                                                                                     UEST              FOR
                       THALIA            LARDOUTSOS

                                                                                                                                            CONFERENCE
                                                                         Plaintiff(s),


                                             -against-



                       LOWE'S           HOME         IMPROVEMENT                        AND       LOWE'S               HOME
                       CENTERS,              LLC


                                                                         Defendant(s).




                                       The    undersigned            requests       a preliminary             conference.

                                       The    nature        of the   action      is to recover            money          damages            for    personal            injury    due     to

                    defendant's        negligence.

                                       The    names,         addresses        and     telephone          numbers            of the      attorneys        appearing              herein        are:

                                                                                SACCO             &     FILLAS,             LLP
                                                                                Attorneys          for    Plaintiff,         Thalia         Lardoutsos

                                                                                31-19       Newtown            Avenue
                                                                                7 Floor

                                                                                Astoria,        NY       11102

                                                                                (718)      269-2222



                                                                                Goldberg           Segalla

                                                                                Attorney          for    Defendant(s)
                                                                                Lowe's          Home        Centers,         LLC
                                                                                Lowe's          Home        Improvement

                                                                                665      Main      Street

                                                                                Buffalo,        NY       14203

                                                                                (716)      566-5400



                    Dated:    Astoria,        New        York

                                  January     19,    2021




                                                                                                                 By:     T    nino          Sace       Esq.

                                                                                                                 SA          O &          FILLAS,           L
                                                                                                               Att           eys      for    Plain            s)
                                                                                                                 31-1        Newt                    venue

                                                                                                                 Seventh          Floor

                                                                                                                 Astoria,         New        York      11          2

                                                                                                                 (718)       746-3440




SACCO& RLLAS, LLP


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                         COUNTY             OF QUEENS

                                                                                                                                                        AFFIDAVIT                   OF MAIL
                      THALIA                LARDOUTSOS
                                                                                                                                                        SERVICE

                                                                                  Plaintiff(s),


                                                 -against-



                      LOWE'S                HOME          IMPROVEMENT                         AND            LOWE'S             HOME
                      CENTERS,                   LLC


                                                                                  Defendant(s).



                   STATE          OF        NEW YORK
                   COUNTY               OF QUEENS


                                         Regina         M.      Szmuc,       being        duly       sworn,           says:
                                         I am not         a party         to the      action;         I reside         at Queens,                 New         York     and      I am over           18 years

                   of age.
                                         On        19     day      of     January,            2021,           I     served        the         within           Request            for   Preliminary
                   Conference               by     depositing            a true      copy         thereof,          enclosed            in     a post-paid             wrapper,         in     an     official

                   depository           under       the      exclusive        care      and        custody           of the      United              States     Postal       Service         within       New
                   York       State,     addressed            to the      following           at the         last    known            address           set forth        below:



                   Goldberg            Segalla
                   665     Main        Street

                   Buffalo,       NY        14203




                                                                                                             Regina             . Szmuc



                   Sworn        to b          re me

                   19 day       of J        uary          21


                                                                                                         TONINO                  SACCO
                                                                                                                                             of      New       York
                                                                                                         Public,              State
                                                                                         Notary
                                                                                                                      02SA4979498
                   NOTARY               P         LIC                                                    No.
                                                                                                                       in     Oueens                 County
                                                                                                  Qualified
                                                                                                                                             April     01,      2023
                                                                                              ommission                Expires




    & PIU.AS,u.p

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              COUNTY             OF QUEENS
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             __ __ ___       _____         __ - __ _ ___          _ _ _ __ _ _ _ _ _ ___               ________                  ___    ___      __ _ ___        _ _________



             THALIA          LARDOUTSOS


                                                               Plaintiff(s),


                                    -against-



             LOWE'S         HOME           IMPROVEMENT                       AND        LOWE'S                HOME             CENTERS,                LLC


                                                               Defendant(s).

             ___________________________________________________



                                                 REQUEST             FOR         PRELIMINARY                            CONFERENCE


             _________________________________________                                                                                                              __          ____

              Pursuant      to     22   NYCRR          130-1.1,       the      undersigned,              an attorney                  adm              to p     ctice    i     the     courts

              of   New      York        State,    certifies       that,      upon         information                and        bel             nd     re     onable         mquiry,       the

              contentions          contained      in the      annexed          documents               are    not     frivol                .


               Dated:               Queens,      NY
                                    January      19,   2021

                                                                                                       Signature:
                                                                                                       By:     Tonin              Sacco,        Esq.




                                                                          SACCO              &   FILLAS,                   LP
                                                                            Attorneys            for   Plaintiff(s)
                                                                                 Thalia          Lardoutsos
                                                                            31-19       Newtown               Avenue
                                                                                      Seventh          Floor

                                                                          Astoria,        New          York         11102

                                                                                     (718)       746-3440
                                                                               Our      File      # 24230-20




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